            Case
            Case:MDL
                 4:18-cv-00770-BSM
                     No. 2807 Document
                                   As of:02/19/2019
                                       47-3 Filed 02/19/19
                                                    01:48 PMPage
                                                            CST 11ofof59
                                                                       2
                                                                                               JJV,JURY
                                  U.S. District Court
                       Eastern District of Arkansas (Little Rock)
                   CIVIL DOCKET FOR CASE #: 4:18−cv−00770−BSM

Alcoa Community Federal Credit Union v. Sonic Corporation et   Date Filed: 10/16/2018
al                                                             Jury Demand: Plaintiff
Assigned to: Chief Judge Brian S. Miller                       Nature of Suit: 380 Personal Property:
Cause: 28:1332 Diversity−Property Damage                       Other
                                                               Jurisdiction: Diversity
Plaintiff
Alcoa Community Federal Credit                 represented by Karen Sharp Halbert
Union                                                         Roberts Law Firm, P.A.
individually and on behalf of all others                      Post Office Box 241790
similarly situated                                            Little Rock, AR 72223−1790
                                                              501−821−5575
                                                              Fax: 501−821−4474
                                                              Email: karenhalbert@robertslawfirm.us
                                                              LEAD ATTORNEY
                                                              ATTORNEY TO BE NOTICED

                                                               Michael L. Roberts
                                                               Roberts Law Firm, P.A.
                                                               Post Office Box 241790
                                                               Little Rock, AR 72223−1790
                                                               501−821−5575
                                                               Email: mikeroberts@robertslawfirm.us
                                                               LEAD ATTORNEY
                                                               ATTORNEY TO BE NOTICED

                                                               Stephanie Egner Smith
                                                               Roberts Law Firm, P.A.
                                                               Post Office Box 241790
                                                               Little Rock, AR 72223−1790
                                                               501−821−5575
                                                               Email: stephanieegner@robertslawfirm.us
                                                               LEAD ATTORNEY
                                                               ATTORNEY TO BE NOTICED


V.
Defendant
Sonic Corporation

Defendant
Sonic Industries Services Inc

Defendant
Sonic Capital LLC

Defendant
Sonic Franchising LLC

Defendant
Sonic Industries LLC

Defendant
Sonic Restaurants Inc
       Case
       Case:MDL
            4:18-cv-00770-BSM
                No. 2807 Document
                              As of:02/19/2019
                                  47-3 Filed 02/19/19
                                               01:48 PMPage
                                                       CST 22ofof59
                                                                  2


Date Filed   #   Docket Text
10/16/2018   1 COMPLAINT−CLASS ACTION with Jury Demand filed by Alcoa Community
               Federal Credit Union against All Defendants. Fee $400. Receipt Number LIT069247.
               Summons issued and returned to counsel for service. (Attachments: # 1 Civil Cover
               Sheet)(cmn) (Entered: 10/16/2018)
01/04/2019   2 NOTICE by Alcoa Community Federal Credit Union Regarding Waiver of the Service
               of Summons (Halbert, Karen) (Entered: 01/04/2019)
02/12/2019   3 WAIVER OF SERVICE Returned Executed as to All Defendants by Alcoa
               Community Federal Credit Union. (Smith, Stephanie) (Entered: 02/12/2019)
            Case
             Case4:18-cv-00770-BSM
                  MDL No. 2807 Document
                                   Document
                                        47-31 Filed
                                               Filed02/19/19
                                                     10/16/18 Page
                                                               Page31ofof59
                                                                          57



                                                                                        OCT I 6 2018
                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF ARKANSA~~~ES W~~MACK, CLERK
                                                                                                        DEPCLERK


ALCOA COMMUNITY FEDERAL CREDIT
UNION, individually and on behalf of all others
similarly situated,

                       Plaintiff,
       V.
                                             COMPLAINT - CLASS ACTION
SONIC CORPORATION, SONIC INDUSTRIES,
SERVICES INC., SONIC CAPITAL LLC, SONIC      DEMAND FOR JURY TRIAL
FRANCHISING LLC, SONIC INDUSTRIES LLC,
SONIC RESTAURANTS, INC.                 ; This case a~sip:n~rl to nisbict Judge ()::). ) ) r:'c?'"' ~
                                        : and tci ME.:,.,:._::~n::r~.J Judge-~-...Q....~~(X~•----....
                 Defendants.


                                    COMPLAINT - CLASS ACTION

        Plaintiff Alcoa Community Federal Credit Union ("Alcoa Credit Union" or "Plaintiff'),

 on behalf of itself and all others similarly situated, alleges the following against Defendants

 Sonic Corporation, Sonic Industries Services, Inc., Sonic Capital LLC, Sonic Franchising LLC,

 Sonic Industries LLC, Sonic Restaurants, Inc. (referred to herein as "Sonic" or "Sonic

 Defendants"), based upon personal knowledge where applicable, information and belief, and

 the investigation of counsel.

                                      I.   INTRODUCTION

       1.       Plaintiff brings this class action on behalf of financial institutions that suffered,

and continue to suffer, property damage and financial losses as a result of Sonic' s

implementation of inadequate measures to protect Plaintiffs and other financial institutions'

payment card data from being stolen from Sonic's point-of-sale ("POS") and computer systems.



                                                  1
            Case
             Case4:18-cv-00770-BSM
                  MDL No. 2807 Document
                                   Document
                                        47-31 Filed
                                               Filed02/19/19
                                                     10/16/18 Page
                                                               Page42ofof59
                                                                          57



In 2017, Sonic allowed a computer hacker to enter Sonic' s computer system undetected and

install malware that infected POS systems at more than 300 of Sonic's U.S. restaurants in 32

states (the "Data Breach"). The malware enabled the hacker to steal the cardholder names, credit

and debit card numbers, card expiration dates, card verification values, service codes, and other

information (collectively, "Payment Card Data") of customers using payment cards issued by

Plaintiff and the Class (defined below). The stolen Payment Card Data was then sold by the

hacker and used by cyber-criminals to make fraudulent purchases.

       2.       This confidential Payment Card Data, which is owned by and is the property of

Plaintiff and the Class, was compromised and rendered useless because of Sonic's affirmative

acts in implementing data security measures that were inadequate to properly protect the

Payment Card Data that Plaintiff and the Class entrusted to Sonic. Sonic, by accepting payment

cards at its restaurants, knew or should have known it was required to adequately protect

Payment Card Data.

       3.       The susceptibility of POS systems to malware is well known throughout the retail

and restaurant industries. In the last five years, malware placed on POS systems caused

practically every major data breach involving retail stores or fast-food chains, resulting in

millions of compromised payment cards.

       4.       It is well known that Payment Card Data is valuable and often targeted by

hackers. Over the last several years, numerous data breaches have occurred at large

retailers and restaurants nationwide, including Home Depot, Target, KMART, P.F. Chang's,




                                               2
             Case
              Case4:18-cv-00770-BSM
                   MDL No. 2807 Document
                                    Document
                                         47-31 Filed
                                                Filed02/19/19
                                                      10/16/18 Page
                                                                Page53ofof59
                                                                           57



Wendy's, Chipotle and many others. Javelin Strategy and Research reports that identity thieves

have stolen $112 billion in the past six years. 1

        5.       Due to the susceptibility of POS systems to hacking, a data breach that

compromises sensitive payment card information is not an inevitability of doing business; rather,

numerous measures can be taken to prevent intrusion by unauthorized personnel into POS

devices and networks and to limit the effect of an intrusion if it occurs. For example, one data

security expert recommends a "Tripod of POS Security," comprised of the following protective

measures: (1) POS systems that support EMV chip-based payment cards (a highly secure method

of transmitting credit card data that replaces the traditional magnetic stripe); (2) end-to-end

encryption, which encrypts Payment Card Data as soon as payment cards are swiped; and (3)

tokenization, which replaces credit and debit card numbers with a meaningless series of letters

and numbers, rendering any information collected by hackers useless. 2

        6.       Despite the well-publicized and ever-growing threat of cyber-attacks targeting

Payment Card Data through vulnerable POS systems and inadequately protected computer

networks, Sonic took inadequate measures to prevent or detect the Data Breach, as the hacker

launched its malicious payloads and ultimately exfiltrated Payment Card Data from Sonic's

computer network. Sonic knowingly refused to implement certain best practices, understaffed its

IT department, chose not to upgrade critical security systems, used an outdated POS system that

no longer was supported by the hardware and software manufacturers, ignored explicit warnings

1 See https://www.javelinstrategy.com/coverage-area/2016-identity-fraud-fraud-hits-inflection-
point (last visited October 15, 2018).

2Point of sale security: Retail data breaches at a glance, DATACAP SYSTEMS, INC. (May 12,
2016), https://www.datacapsystems.com/blog/point-of-sale-security-retail-data-breaches-at-a-
glance#.


                                                    3
            Case
             Case4:18-cv-00770-BSM
                  MDL No. 2807 Document
                                   Document
                                        47-31 Filed
                                               Filed02/19/19
                                                     10/16/18 Page
                                                               Page64ofof59
                                                                          57



about the vulnerability of its POS system, and disregarded and/or violated applicable industry

standards.

       7.       Plaintiff and the Class have suffered property damage - i.e., the complete and

immediate obsolescence of their computer data associated with the compromised payment cards

- and other financial losses as a result of the Data Breach. Specifically, Plaintiff and other

financial institutions have been forced to: (a) replace the computer data rendered useless by the

Data Breach; (b) cancel or reissue any credit and debit cards affected by the Data Breach; (c)

close any deposit, transaction, checking, or other accounts affected by the Data Breach,

including, but not limited to, stopping payments or blocking transactions with respect to the

accounts; (d) refund any cardholder for any unauthorized transaction relating to the Data Breach;

(e) respond to a higher volume of cardholder complaints, confusion, and concern; and (f)

increase fraud monitoring efforts.

       8.       This class action is brought on behalf of financial institutions throughout the U.S.

to recover the damages that they and others similarly situated have suffered, and continue to

suffer, as a direct result of the Data Breach. Plaintiff asserts claims for negligence, negligence

per se, violation of the Arkansas Deceptive Trade Practices Act, misappropriation of trade

secrets in violation of the Defend Trade Secrets Act of 2016 ("DTSA"), 18 U.S.C. § 1831, et

seq., and declaratory and ancillary equitable relief.

                                            II.    PARTIES

       A. Plaintiff

       9.       Plaintiff Alcoa Community Federal Credit Union ("Plaintiff Alcoa") is a credit

union headquartered at 1125 Military Rd., Benton, Arkansas 72015. Plaintiff received a




                                                  4
          Case
           Case4:18-cv-00770-BSM
                MDL No. 2807 Document
                                 Document
                                      47-31 Filed
                                             Filed02/19/19
                                                   10/16/18 Page
                                                             Page75ofof59
                                                                        57



Compromised Account Management System or CAMS alert regarding the Sonic Data Breach.

Plaintiff Alcoa employs numerous methods to maintain the confidentiality of its Payment Card

Data and to prevent disclosure of its Payment Card Data to unauthorized third parties. As a result

of the Sonic Data Breach, Plaintiff Alcoa has suffered, and continues to suffer, injuries,

including, inter alia, property damage to the computer data associated with the Payment Card

Data rendered useless as a result of the Data Breach, as well as costs to: (a) replace the computer

data rendered useless by the Data Breach; (b) cancel or reissue any payment cards affected by the

Data Breach; (c) close any deposit, transaction, checking, or other accounts affected by the Data

Breach, including, but not limited to, stopping payments or blocking transactions with respect to

the accounts; (d) refund any cardholder for any unauthorized transaction relating to the Data

Breach; (e) respond to a higher volume of cardholder complaints, confusion, and concern; and (f)

increase fraud monitoring efforts. Plaintiff Alcoa, thus, has suffered injury in Arkansas.

       B. Defendants

       10.     Defendant Sonic Corporation ("Sonic") is a Delaware corporation with its

headquarters and principal place of business located at 300 Johnny Bench Drive, Oklahoma City,

Oklahoma 73104. Sonic operates the largest chain of drive-in restaurants, Sonic Drive-Ins, in

the United States.

       11.     Sonic Corporation, through its subsidiaries, operates and franchises the largest

chain of drive-in restaurants ("Sonic Drive-Ins") in the United States. For the fiscal year ended

August 31, 2017, Sonic generated $63. 7 million in net income. See Sonic Corp. Annual Report

(Form 10-K), (filed 10/27/2017 with SEC).

       12.     When Sonic refers to "Sonic Corp.," "Sonic," "the Company," "we," "us" and




                                                 5
          Case
           Case4:18-cv-00770-BSM
                MDL No. 2807 Document
                                 Document
                                      47-31 Filed
                                             Filed02/19/19
                                                   10/16/18 Page
                                                             Page86ofof59
                                                                        57



"our" in its SEC filings and annual reports, it 1s referring to Sonic Corporation and its

subsidiaries. Id.

        13.     As of August 31, 2017, the Sonic system was comprised of 3,593 drive-ins, of

which 6% were Company Drive-Ins and 94% were Franchise Drive-Ins. Id.

        14.     As set forth herein, all decisions relating to data security were made from Sonic's

corporate headquarters in Oklahoma City, Oklahoma.

        15.     By sales,      Sonic     is the   twelfth        largest restaurant chain in America.

https://www.si.com/eats/2017/06/30/top-25-restaurant-chains-america-sales               (last      visited

10/15/18).     It   1s   the    fourth     largest       quick     service   burger   restaurant   chain.

https://www.gsrmagazine.com/reports/qsr50-2016-burger-segment-breakdown                   (last    visited

10/15/18).

        16.     Defendant Sonic Industries Services, Inc. is an Oklahoma corporation with its

headquarters and principal place of business in Oklahoma City, Oklahoma. It is a subsidiary of

Sonic Corp.

        17.     Defendant Sonic Capital LLC is Delaware limited liability company with its

headquarters and principal place of business in Oklahoma City, Oklahoma. It is a subsidiary of

Sonic Industries Services, Inc.

        18.     Defendant Sonic Franchising LLC is a Delaware limited liability company with

its headquarters and principal place of business in Oklahoma City, Oklahoma. Sonic Franchising

LLC franchises restaurants. It is a subsidiary of Sonic Capital LLC.

        19.     Defendant Sonic Industries LLC is a Delaware limited liability company with its

headquarters and principal place of business in Oklahoma City, Oklahoma. Sonic Industries,




                                                     6
          Case
           Case4:18-cv-00770-BSM
                MDL No. 2807 Document
                                 Document
                                      47-31 Filed
                                             Filed02/19/19
                                                   10/16/18 Page
                                                             Page97ofof59
                                                                        57



LLC is a franchise assets holder. It is a subsidiary of Sonic Capital LLC.

        20.    Defendant Sonic Restaurants, Inc. is an Oklahoma corporation with its

headquarters and principal place of business in Oklahoma City, Oklahoma. Sonic Restaurants,

Inc. operates restaurants. It is a subsidiary of Sonic Corp.

                          III.   JURISDICTION AND VENUE

        21.    This Court has jurisdiction over this action pursuant to the Class Action Fairness

Act ("CAFA"), 28 U.S.C. § 1332(d), because at least one Class member is of diverse citizenship

from one defendant, there are more than 100 Class members, and the aggregate amount in

controversy exceeds $5 million, exclusive of interest and costs.

        22.    This Court also has federal subject matter jurisdiction pursuant to 28 U.S.C. §

1331 because Plaintiff asserts a claim under the DTSA, 18 U.S.C. § 1832. The Court also has

supplemental or pendant jurisdiction over Plaintiffs remaining claims insofar as those claims

form part of the same case or controversy as the federal question claim, pursuant to 28 U.S.C. §

1367.

        23.    Further, the Plaintiff has its principal place of business in this District and is

headquartered in this District, and Defendant conducts substantial business in this District.

        24.    Venue is proper in this district under 28 U.S.C. § 1391(b) because a substantial

part of the events or omissions giving rise to the claims occurred in this district and Defendant

has caused harm to Class members residing in this district.




                                                  7
                Case
                Case 4:18-cv-00770-BSM
                     MDL No. 2807 Document
                                       Document
                                           47-3 1 Filed
                                                    Filed
                                                        02/19/19
                                                          10/16/18 Page
                                                                    Page108 of
                                                                            of 59
                                                                               57




                                    IV.    FACTUAL ALLEGATIONS

           A. Sonic Had a Common Law Duty to Protect Payment Card Data in Light of the
              Foreseeability of the Risk It Created by Knowingly Implementing Inadequate
              Data Security Measures

           25.      Plaintiff and the Class are financial institutions that issue payment cards, such as

credit and debit cards, to their customers.

           26.      A POS system is an on-site device that manages both cash and payment card

transactions from consumer purchases. When a payment card is used at a POS terminal, "data

contained in the card's magnetic stripe is read and then passed through a variety of systems and

networks before reaching the retailer's payment processor." 3 Before transmitting customer data

over the merchant's network, POS systems typically, and very briefly, store the data in plain text

within the system's memory. 4 Any time that Payment Card Data is "in the clear"-that is, in

plain text format that is readable by a person or computer-it is extremely vulnerable to theft. It

is this unencrypted Payment Card Data on the POS system that hackers seek to access.

           27.      It is well known that Payment Card Data has considerable value to and often is

targeted by hackers, who easily can sell Payment Card Data, as a result of the "proliferation of

open and anonymous cybercrime forums on the Dark Web that serve as a bustling marketplace

for such commerce. " 5 Tim Erlin, Vice President of Tripwire, a threat, security and compliance


3A Special Report on Attacks on point-of-sales systems at 6, Symantec (Nov. 20, 2014),
https://www.symantec.com/content/dam/symantec/docs/white-papers/attacks-on-point-of-sale-
systems-en.pdf.

4   Id. at 5.

5Brian Krebs, The Value ofa Hacked Company, KREBS ON SECURITY (July 14, 2016, 10:47
AM), http://krebsonsecurity.com/2016/07/the-value-of-a-hacked-company/.



                                                     8
             Case
             Case 4:18-cv-00770-BSM
                  MDL No. 2807 Document
                                    Document
                                        47-3 1 Filed
                                                 Filed
                                                     02/19/19
                                                       10/16/18 Page
                                                                 Page119 of
                                                                         of 59
                                                                            57



solutions vendor, noted that "[a]s long as compromised credit card data continues to be a

valuable commodity on the black market, any company collecting or processing valid credit card

information will continue to be a high value target." 6 Intruders with access to Payment Card Data

can physically replicate the card or use it online. Unsurprisingly, theft of payment card

information via POS systems is now "one of the biggest sources of stolen payment cards." 7

           28.     As noted above, numerous data breaches have occurred at large retailers and

restaurants nationwide, including Arby's, Wendy's, Target, Home Depot, Sally Beauty, Harbor

Freight Tools, P.F. Chang's, Dairy Queen, Kmart, Chipotle, and many others.

           29.     Each of these massive data breaches involved malware placed on each merchant's

POS system. For example, in 2013, hackers infiltrated Target's POS system, stealing information

from an estimated 40 million payment cards in the United States. 8 In 2014, over 7,500 self-

checkout POS terminals at Home Depot locations throughout the United States were hacked,

compromising roughly 56 million debit and credit cards. 9 In 2016, on-site POS systems at more

than 1,000 Wendy's restaurants were infiltrated with malware, resulting in the theft of Payment

Card Data for nearly six months. 10


6Dan Rayward, Sonic Reports Suspicious Activity on POS System, INFOSECURITY
MAGAZINE (Apr. 26, 2017), https://www.infosecurity-magazine.com/news/Sonic-suspicious-
activity-pos/.

7   A Special Report, supra n.3.

8Brett Hawkins, Case Study: The Home Depot Data Breach at 3-4, SANS INSTITUTE (Jan.
2015), https://www.sans.org/reading-room/whitepapers/casestudies/casestudy-home-depot-data-
breach-36367.

9   Id. at 4, 7.

10   Brian Krebs, 1,025 Wendy's Locations Hit in Card Breach, KREBSONSECURITY (July 8,


                                                  9
         Case
          Case4:18-cv-00770-BSM
               MDL No. 2807 Document
                                Document
                                     47-31 Filed
                                            Filed02/19/19
                                                  10/16/18 Page
                                                            Page12
                                                                 10ofof59
                                                                        57



       30.     Despite the well-known vulnerabilities of POS systems, available security

measures and business practices would have significantly reduced or eliminated hackers' ability

to successfully infiltrate merchants' POS systems. One report indicated that over 90% of the data

breaches occurring in 2014 were preventable. 11

       31.     As discussed fully below, the payment card networks (MasterCard, Visa,

Discover, and American Express), data security organizations, federal agencies, and state

governments have implemented recommended standards of care regarding security measures

designed to prevent these types of intrusions into POS systems. Sonic' s adherence to reasonable

standards of care could have either prevented or timely detected this Data Breach.

       32.     Sonic is, and at all relevant times has been, aware that the Payment Card Data it

receives and maintains is confidential and highly sensitive and could be used for nefarious

purposes by third parties, such as perpetrating identity theft and making fraudulent purchases.

       33.     Sonic is, and at all relevant times was, fully aware of the significant volume of

daily payment card transactions at Sonic's restaurants, amounting to tens of thousands of daily

payment card transactions, and thus, the significant number of payment cards that would be

impacted by a breach of Sonic's POS systems.

       34.     Sonic is, and at all relevant times has been, aware of the importance of

safeguarding Payment Card Data and of the foreseeable consequences that would occur if its data

security systems were breached, including the significant harm that Plaintiff and the Class would



2016), https://krebsonsecurity.com/2016/07/1025-wendys-locations-hit-in-card-breach/.

11 2016 Data Breach Investigations Report at 1, VERIZON (Apr. 2016),
http://www.verizonenterprise.com/resources/reports/rp_2016-DBIR-Retail-Data-
Security_en_xg.pdf.


                                                  10
           Case
            Case4:18-cv-00770-BSM
                 MDL No. 2807 Document
                                  Document
                                       47-31 Filed
                                              Filed02/19/19
                                                    10/16/18 Page
                                                              Page13
                                                                   11ofof59
                                                                          57



suffer.

          35.   Despite that Sonic understood the risk that it created in leaving its POS systems

vulnerable to a malware attack, Sonic took unreasonable and insufficient measures to protect

Payment Card Data by choosing not to employ widely available resources to prevent or detect an

intrusion.

          B. The Sonic Data Breach

          36.   On September 26, 2017, journalist Bryan Krebs ("Krebs") made the first public

report that hackers had gained access to Sonic's computer and point-of-sale systems and that a

database of Sonic's customers' bank cards had been on sale since September 15, 2017. 12 Krebs

noted that he first began hearing of a potential data breach when sources at multiple financial

institutions noticed a pattern of fraudulent transactions on cards used at Sonic.

          37.   According to Sonic's public statements, it was made aware of "unusual activity"

on payment cards used at Sonic by its payment card processor the week before. 13

          38.   A cybercrime marketplace called "Joker's Stash" had been selling the bank card

information under the batch name FireTigem since September 18, 2017. Joker's Stash sold the

stolen credit and debit card information for $25-$50 and was advertised as "100% fresh." In

addition, Joker's Stash indexed the cards based on city, state and ZIP code, making it easier for

purchasers to acquire cards from their area and the fraudulent use more difficult to detect. As

reported by Krebs,


12See https://krebsonsecurity.com/2017/09/breach-at-sonic-drive-in-may-have-impacted-
milli ons-o f-credi t -debit-cards/.

13See, e.g. "Sonic Drive-In hit by security breach" USA Today, 09/27/17, at
https://www.usatoday.com/story/tech/2017/09/27/sonic-drive-hit-security-breach/708850001 /.


                                                 11
         Case
          Case4:18-cv-00770-BSM
               MDL No. 2807 Document
                                Document
                                     47-31 Filed
                                            Filed02/19/19
                                                  10/16/18 Page
                                                            Page14
                                                                 12ofof59
                                                                        57



       [t]he accounts apparently stolen from Sonic are part of a batch of cards that
       Joker's Stash is calling "Firetigerrr," and they are indexed by city, state and ZIP
       code. This geographic specificity allows potential buyers to purchase only cards
       that were stolen from Sonic customers who live near them, thus avoiding a
       common anti-fraud defense in which a financial institution might block out-of-
       state transactions from a known compromised card.

       Malicious hackers typically steal credit card data from organizations that accept
       cards by hacking into point-of-sale systems remotely and seeding those systems
       with malicious software that can copy account data stored on a card's magnetic
       stripe. Thieves can use that data to clone the cards and then use the counterfeits to
       buy high-priced merchandise from electronics stores and big box retailers.

       Prices for the cards advertised in the Firetigerr batch are somewhat higher than for
       cards stolen in other breaches, likely because this batch is extremely fresh and
       unlikely to have been canceled by card-issuing banks yet.

       Most of the cards range in price from $25 to $50, and the price is influenced by a
       number of factors, including: the type of card issued (Amex, Visa, MasterCard,
       etc); the card's level (classic, standard, signature, platinum, etc.); whether the card
       is debit or credit; and the issuing bank.

       39.     After Krebs contacted Sonic regarding the data breach, Krebs reported that it

received the following statement from Sonic,

       [o]ur credit card processor informed us last week of unusual activity regarding
       credit cards used at SONIC ... The security of our guests' information is very
       important to SONIC. We are working to understand the nature and scope of this
       issue, as we know how important this is to our guests. We immediately engaged
       third-party forensic experts and law enforcement when we heard from our
       processor. While law enforcement limits the information we can share, we will
       communicate additional information as we are able.

       40.     On October 4, 2017, Sonic publicly confirmed that it was the victim of a data

breach and offered customers identity theft protection. Sonic reported that credit and debit card

numbers may have been acquired as part of a malware attack at some Sonic locations. Malware

has been the culprit of many high-profile data breaches.          Malware infiltrates point-of-sale

systems to steal clear-text cardholder data to be sold later on the black market.




                                                 12
            Case
             Case4:18-cv-00770-BSM
                  MDL No. 2807 Document
                                   Document
                                        47-31 Filed
                                               Filed02/19/19
                                                     10/16/18 Page
                                                               Page15
                                                                    13ofof59
                                                                           57



          41.    Sonic has made no effort to notify the individuals, such as the customers of

Plaintiff and Class members, whose data was stolen, leaving those individuals to guess as to

whether they are impacted and need to take measures to protect themselves from fraud. Indeed,

for most customers, the first indication they had that they were impacted by the Sonic breach was

seeing a fraudulent charge to their account.

          42.    At each of its Drive-In locations, Sonic displays the logo of the major card

brands- Visa, Mastercard, American Express, Discover - that it accepts. Customers relied on

such signs in choosing to shop Sonic and to pay for their purchases with a payment card with the

understanding that Sonic followed reasonable, industry standard practices for the protection of

the transaction and Payment Card Data.

          43.    More than five (5) months after news of the Sonic Data Breach had been broken,

Sonic announced that the "investigations to date" had found "forensic evidence" that Payment

Card Data was stolen from 314 Sonic Drive-In locations in 32 states. 14

          44.    As shown below, Joker's Stash boasted that the number of Sonic locations

affected were in "ALMOST ALL USA STA TES." 15




14   https ://www.sonicdrivein.com/-/notice-of-data-breach-fag.

15See https://krebsonsecurity.com/2017/09/breach-at-sonic-drive-in-may-have-impacted-
millions-of-credit-debit-cards/.



                                                 13
         Case
          Case4:18-cv-00770-BSM
               MDL No. 2807 Document
                                Document
                                     47-31 Filed
                                            Filed02/19/19
                                                  10/16/18 Page
                                                            Page16
                                                                 14ofof59
                                                                        57



       201N)9·Z6

       FIRETIGERRR BREACH UPDATE




       FIRETIGERRR BR.EACH at JOKER·s STASH
       5.000.000 pcs. ALMOST ALL USA STATES.
       100% FRESH 100% FIRE DUMPS

       WARRAXCFIR£TJ<,£RRR nR£ACIII               USA by STA-rE/CITYIZIP TRl+'TR2/T'R2.up-2017-0'}.2;
       '°'"" l3 ~ • Ml
       tint   cla-y,.  REFUNDS '
                    TIM£ FOR RER:SDS: 3 IIOI.JR<; tGOLO 1.'SERS 121L SILVER "IH. BRONZE      <\ti)



       W-'RRAX-£X°QA(HR£TIG£RRRIIREl\nfl· USA by STA-rE/CITYIZIP                                     TRl+'TR2JT'R2.~201-='~2,
       n,... l dou NO REfUND5 '
       .d... 3 ~ TIME FOR REFUSDS· l lfOURS (t';.Ol.O USERS 12H. SIL VER 'JH.13RONZE 6Ht



       FIRETI?ERRR , _ . . . . . , , . v..iod ,.., ( t r y ~ C N d n J :
        • JOllei",Sllalt)                  IC /   Try20>tdc.me    I Gat•   l        ..   +




       45.              Sonic had the resources to prevent a breach, but was negligent in failing to

secure Payment Card Data. According to Sonic's 10-K for fiscal year ending August 31, 2017, 16

       Sonic Drive-Ins are equipped with information technology systems including
       point-of-sale systems and operational tools for sales, labor and inventory. This
       technology includes industry-specific, off-the-shelf systems as well as proprietary
       software that assist in managing food and beverage costs. These solutions are
       integrated with our point-of-sale systems to provide information that is important
       for managers to run efficient and effective operations. We have centralized
       financial and accounting systems for Company Drive-Ins. We also have systems
       that receive transaction-level data from Franchise Drive-Ins. We believe these
       systems are important in analyzing and improving sales and profit margins and


16 See Form 10-K, Sonic Corp., filed 10/27/17 for the Period Ending 08/31/17, available at
http://files.shareholder.com/downloads/SONC/5577284129xOxS868611-17-
50/868611/filing.pdf.



                                                                               14
           Case
            Case4:18-cv-00770-BSM
                 MDL No. 2807 Document
                                  Document
                                       47-31 Filed
                                              Filed02/19/19
                                                    10/16/18 Page
                                                              Page17
                                                                   15ofof59
                                                                          57



         accumulating marketing information. We are also making strategic investments in
         customer facing digital technologies, including interactive menu boards, a multi-
         functional mobile application and electronic payment at the stall to enhance the
         customer's experience and drive sales. We have further invested in new point-of-
         sale systems. Our license agreements require a technology contribution of
         approximately .25% of sales to the Brand Technology Fund ("BTF"), which was
         established in the third quarter of fiscal year 2016 and administers cybersecurity
         and other technology programs for the Sonic system.

         46.    Despite warnings from its payment card processor, First Data 17, and a number of

high profile data breaches at other restaurant chains 18 in the years leading up to the Sonic Data

Breach, which put Sonic on notice of the need to be vigilant against and take steps to prevent

cyber attackers from stealing customers' data, Sonic's failed to take reasonable, industry-

standard steps to secure its systems and its customers' data.

         47.    In fact, in the years leading up to the Sonic Data Breach, Sonic management

received numerous warnings about vulnerabilities in its systems and processes that put customer

data at risk. Still, Sonic continued to use old, out-of-date hardware and software that was

unsupported and unsecure. Sonic failed to follow even basic security precautions. In fact, after

news of the Sonic Data Breach broke, one person commented, anonymously:

         "Antiquated Software caused Breach... Executives too focused on delivering
         unnecessary shiny 'new apps' instead of fixing a problem they were all aware of, end
         result - millions of customers impacted ... " 19


17 In a pamphlet, First Data warns: "Data is extremely vulnerable and you are completely
responsible/or protecting it." "Payment Card Data Breaches: What You Need to Know About
Your Risk and Liability," First Data Market Insight, at https://www
firstdata.com/downloads/thought-leadership/13405 0714 Payment Card Data Breach.pd[

18 See e.g. "7 Way to Protect Against a Data Breach," OSR Magazine, Feb. 2016, at
https://www.gsrmagazine.com/restaurant-software/7-ways-protect-against-data-breach.

19   https://www.thelayoff.com/sonic



                                                 15
         Case
          Case4:18-cv-00770-BSM
               MDL No. 2807 Document
                                Document
                                     47-31 Filed
                                            Filed02/19/19
                                                  10/16/18 Page
                                                            Page18
                                                                 16ofof59
                                                                        57



       48.     Sonic, including its Board of Directors, were aware for years prior to the Sonic

Data Breach that retailers, including restaurants like them, were prime targets for cyber attackers

looking to steal valuable credit card data.

       49.     Sonic was negligent and failed to implement current, basic industry-accepted data

security tools to prevent cyber attackers from accessing the cardholder data environment

("CDE"). Sonic failed to utilize point-to-point encryption on all POS terminals. If Sonic had not

been negligent and taken even one of these basic security steps, the cyber attackers would not

have been able to access or use customers' Payment Card Data or would have been detected at a

much earlier date, reducing the number of customers whose Payment Card Data was

compromised.

       50.     Sonic neglected to timely and adequately invest in data security, despite the

growing number of well-publicized data breaches. Had Sonic remedied the deficiencies in its

data security systems, followed security guidelines, and adopted security measures recommended

by experts in the field, Sonic would have prevented the Data Breach. 20

       51.     The Sonic Defendants did have some monitoring systems turned on, and those

systems sent out alerts when the cyber attackers entered various parts of their computer systems

but Sonic either failed to review many of these alerts, or ignored the alerts. As time went on, the

cyber attackers were stealing so much data (i.e., Payment Card Data) that basic information

technology maintenance systems should have recognized and stopped the attack. Unfortunately,

Sonic failed to properly implement or monitor those systems.



20See "From IHG to Sonic: Hospitality Remains Slow to Adopt Greater Credit Card Security
Measures," Hospitality Technology (Oct. 12, 2017), available at https://hospitalitytech.com/ihg-
sonic-hospitality-remains-slow-adopt-greater-credit-card-security-measures.


                                                16
         Case
          Case4:18-cv-00770-BSM
               MDL No. 2807 Document
                                Document
                                     47-31 Filed
                                            Filed02/19/19
                                                  10/16/18 Page
                                                            Page19
                                                                 17ofof59
                                                                        57



       52.      Taking advantage of Sonic's lax data security, hackers were able to gather large

amounts of Payment Card Data.         With that data, unknown perpetrators were able to make

hundreds of thousands or even millions of fraudulent undetected purchases on credit and debit

cards that had been issued by Plaintiff and members of the Class.

       53.      Sonic's data security systems suffered from many deficiencies that made them

susceptible to hackers. Among other things, Sonic knowingly:

                a. ignored well-known data security risks, thereby intentionally allowing data

                   security deficiencies to persist;

                b. lacked adequate firewall protection and proper network segmentation, which

                   would have prevented hackers from accessing Payment Card Data;

                c. refused to implement certain protocols that would have prevented

                   unauthorized programs, such as malware, from being installed on its POS and

                   other systems that accessed Payment Card Data and otherwise would have

                   protected Payment Card Data; and

                d. failed to install software to adequately track access to its network, monitor the

                   network for unusual activity, and prevent exfiltration of data, which would

                   have detected the presence of the hacker and prevented Payment Card Data

                   from being stolen.

       C. Sonic Breached Its Duty to Avoid Causing Plaintiff and the Class Foreseeable
          Harm by Consciously Disregarding Known Risks

             1. Despite Well-Known Risks, Sonic's Lackadaisical Approach to data Security
                Allowed Deficiencies to Persist

       54.      Much of the blame for the state of Sonic's data security systems can be placed




                                                  17
        Case
         Case4:18-cv-00770-BSM
              MDL No. 2807 Document
                               Document
                                    47-31 Filed
                                           Filed02/19/19
                                                 10/16/18 Page
                                                           Page20
                                                                18ofof59
                                                                       57



squarely on the shoulders of Sonic's senior management, who knowingly failed to upgrade POS

hardware and software and failed to maintain a system of accountability over data security.

       55.     Sonic also was aware of the threat of a data breach given the prior high-profile

breaches that occurred at Target, Home Depot, Wendy's, and others. As early as October 2008,

Visa issued a Data Security Alert describing the threat of RAM scraping malware. 21 In May

2009, Visa issued an updated Data Security Alert warning merchants that due to a memory

parsing (RAM scraping) vulnerability "hackers are gaining unauthorized access to point-of-sale

(POS) environments as a result of insecure remote desktop solutions or poor network

configuration."22 The May 2009 alert instructs companies to "secure their external and internal

network perimeters to prevent unauthorized access to POS systems, payment processing servers,

database servers or other servers where payment card data resides." Id. The May 2009 alert

further instructs merchants to "secure your remote access connectivity," "implement a secure

network configuration including egress and ingress filtering to only allow the ports/services

necessary to conduct business" (i.e., segregate networks), "[m]onitor firewalls for suspicious

traffic (particularly outbound traffic to unknown addresses)," "[i]mplement file integrity

monitoring," "[ s]ecure systems so that unauthorized software cannot be installed," "[e]nsure that

all anti-virus and anti-spyware software programs are up-to-date," and "[r]outinely examine

21Numaan Huq, 2014 -An Explosion of Data Breaches and PoS RAM Scrapers, Trend Micro:
Trend Labs Security Intelligence Blog (Sept. 11, 2014, 2:16 AM),
http:/!blog.trendmicro.com/trendlabs-security-intelligence/2014-an-explosion-of-data-breaches-
and-pos-ram-scrapers/ (last accessed October 26, 2017).

22 Visa Data Security Alert - Targeted Hospitality Sector Vulnerabilities (May 28, 2009),
https://webcache.googleusercontent.com/search?q=cache:inr6S WDrgc8J :https://www.firstdata.c
om/downloads/partners/fd_gpm_notice_visa_security_alert_28may09_partnersupport.doc+&cd=
8&hl=en&ct=clnk&gl=us.



                                               18
         Case
          Case4:18-cv-00770-BSM
               MDL No. 2807 Document
                                Document
                                     47-31 Filed
                                            Filed02/19/19
                                                  10/16/18 Page
                                                            Page21
                                                                 19ofof59
                                                                        57



systems and networks for newly-added hardware devices; unknown files and software." Id.

        56.    Indeed, in August 2013, Visa warned merchants, including Sonic, of malware

targeting POS systems. Specifically, the alert, entitled "Retail Merchants Targeted by Memory-

Parsing Malware," warned: "Since January 2013, Visa has seen an increase in network intrusions

involving retail merchants. Once inside the merchant's network, the hacker will install memory

parser malware on the Windows based cash register system in each lane." 23

        57.    In February 2014, Visa again warned Sonic and other merchants of the increased

risks posed by malware designed to target POS systems in an update to its August2013 security

alert. Specifically, the February 2014 alert stated:

       Visa is issuing this alert to make clients aware of new malware information and to
       remind Visa merchants to secure their payment processing (and non-payment)
       networks from unauthorized access. Visa highly recommends merchants
       implement these signatures on security solutions to detect a suspected breach.
       However, Visa recommends performing sufficient due diligence prior to
       implementing any block to avoid any inadvertent connectivity issues for
          ••
       1eg1timate access. 24

       58.     In November 2015, Visa issued another security alert notifying Sonic and other

merchants of additional malware infections targeting and impacting merchants and restaurants.

This alert specifically stated that a restaurant group had been targeted by this form of malware

attack and that "infections started in August 2015 but appeared to increase dramatically in the




23Visa Data Security Alert, Retail Merchants Targeted by Memory-Parsing Malware - UPDATE
(August 2013 ), https://usa.visa.com/dam/VCOM/download/merchants/Bulletin_
Memory_Parser_Update_082013. pdf.

24Visa Data Security Alert, Retail Merchants Targeted by Memory-Parsing Malware - UPDATE
(Feb. 2014), https://usa.visa.com/damNCOM/download/merchants/Bulletin-Memory- Parser-
Update-012014. pdf.



                                                  19
         Case
          Case4:18-cv-00770-BSM
               MDL No. 2807 Document
                                Document
                                     47-31 Filed
                                            Filed02/19/19
                                                  10/16/18 Page
                                                            Page22
                                                                 20ofof59
                                                                        57



middle of October 2015. " 25 The security alert further stated that "Windows XP and Windows 7

(both 32 bit and 64 bit) are the primary operating systems infected." Id.

       59.      Defendant also received additional warnings regarding malware infiltration of

POS systems from the U.S. Computer Emergency Readiness Team ("U.S. CERT"), a

government unit within the Department of Homeland Security, which alerted retailers to the

threat of POS malware in two separate alerts, on January 2, 2014 and on July 31, 2014, and

issued a guide for retailers on protecting against the threat of POS malware. 26

       60.      Sonic knew or should have known of the susceptibility of its POS systems and

that a breach of its corporate network would permit intruders to install malware at its locations

throughout the U.S., putting Plaintiffs and the Class's Payment Card Data at risk.

       61.     Sonic disregarded the potential danger of a data breach by failing to devote

adequate resources to address security issues and failing to take adequate steps to implement

reasonable data security measures to prevent or timely detect the Data Breach.

             2. Sonic Lacked Adequate Firewall Protection and Appropriate Network
                Segmentation

       62.      Sonic failed to maintain adequate firewall protection, which would have

prevented its computer network from being breached by hackers. Indeed, Sonic should have been




25Security Alert, Visa, Update - Cybercriminals Targeting Point Of Sale Integrators (Nov. 13,
2015), https://usa. visa.corn/darn/VCOM/download/merchants/alert-pos-integrators.pdf.

26 See U.S. CERT, Alert (TA14-002A): Ma/ware Targeting Point of Sale Systems (Jan. 2, 2014)
(revised Oct. 6, 2016), https://www.us-cert.gov/ncas/alerts/TA14-002A; U.S. CERT, Alert
(TA14-212A): Backoff Point-of-Sale Ma/ware (July 31, 2014) (revised Sept. 30, 2016), www.us-
cert.gov/ ncas/alerts/TA14-212A.



                                                20
           Case
            Case4:18-cv-00770-BSM
                 MDL No. 2807 Document
                                  Document
                                       47-31 Filed
                                              Filed02/19/19
                                                    10/16/18 Page
                                                              Page23
                                                                   21ofof59
                                                                          57



aware of the PCI DSS requirements and the significant risks associated with a deficient firewall

and that such deficiencies could lead to a data breach.

          63.    A firewall can prevent unauthorized access to, or from, a private network by

screening out traffic from hackers, viruses, worms, or other types of malware specifically

designed to compromise a POS system. U.S. CERT therefore recommends that firewalls should

be used to protect POS systems from outside attacks. 27

          64.    Similarly, a Visa Data Security Alert, issued in February 2014, warned merchants,

such as Sonic, that they should be vigilant with respect to their firewalls and firewall

configuration. The February 2014 security alert informed merchants that they should:

          [r]eview your firewall configuration and ensure only allowed ports, services and
          IP (internet protocol) addresses are communicating with your network. This is
          especially critical on outbound (e.g., egress) firewall rules, where compromised
          entities allow ports to communicate to any IP on the Internet. Hackers will
          leverage this misconfiguration to exfiltrate data to their IP address. 28

          65.    Despite this, Sonic failed to take necessary measures to maintain an adequate

firewall that was properly configured to prevent hackers from penetrating its computer network.

          66.    In fact, the U.S. Department of Commerce's National Institute of Standards and

Technology ("NIST") has published a Guide to Application Whitelisting for computer security.

The purpose of NIST and its Information Technology Laboratory includes the development of

management, administrative, technical, and physical standards and guidelines for the cost-

effective security and privacy of other than national security-related information in federal

information systems. NIST states that the use of whitelisting "helps to stop the execution of

27   U.S. CERT, Alert (I'A14-002A), supra n.21.

28   Visa Data Security Alert (Feb. 2014), supra n.19.



                                                  21
           Case
            Case4:18-cv-00770-BSM
                 MDL No. 2807 Document
                                  Document
                                       47-31 Filed
                                              Filed02/19/19
                                                    10/16/18 Page
                                                              Page24
                                                                   22ofof59
                                                                          57



malware, unlicensed software, and other unauthorized software." 29 NIST further recommends

that "[o]rganizations should consider these technologies, particularly for centrally managed

desktops, laptops, and servers, because of the relative ease in managing these solutions and the

minimal additional cost. Id. at 5.

         67.      Indeed, the NIST Guide states that "application whitelisting software prevents

installation and/or execution of any application that is not specifically authorized for use on a

particular host. This mitigates multiple categories of threats, including malware and other

unauthorized software." Id. at 2.

         68.      Sonic knew or should have known firewalls and network segmentation were

necessary, but chose to not comply with these minimum standards of care.

               3. Sonic Refused to Implement Protocols that Would Have Protected Payment
                  Card Data

         69.      Sonic failed to implement certain protocols that would have detected and

prevented unauthorized programs from being installed on Sonic POS systems and otherwise

would have protected Payment Card Data in the event of a data breach.

         70.      Payment Card Data for a purchase transaction must flow through multiple

systems and parties in order to be processed. For most merchants, there are two points in the

payment process where sensitive cardholder data is at risk of being exposed or stolen because it

exists "in the clear":

                     •   Pre-authorization - When the merchant has captured the Payment Card

                         Data and it is being sent or is waiting to be sent to the acquirer/processor.

29   Adam Sedgewick, Murugiah Souppaya, and Karen Scarfone, NIST Special Publication 800-
167: Guide to Application White listing at 3, NIST (Oct. 2015),
http://nvlpubs.nist.gov/nistpubs/SpecialPublications/NIST. SP .800-167 .pdf.


                                                   22
           Case
            Case4:18-cv-00770-BSM
                 MDL No. 2807 Document
                                  Document
                                       47-31 Filed
                                              Filed02/19/19
                                                    10/16/18 Page
                                                              Page25
                                                                   23ofof59
                                                                          57




                     •   Post-authorization - When Payment Card Data has been sent back to the

                         merchant with the authorization response from the acquirer/processor, and

                         it is placed into some form of storage in the merchant environment and

                         used for analytics and other back-office processes.

          71.    First Data, the largest merchant acquirer, issuer processor, and independent

network services provider in the world, recommends two highly effective technologies available

to address these two specific points of vulnerability: encryption and tokenization. 30 "Encryption

mitigates security weaknesses that exist when [Payment Card Data] has been captured but not yet

authorized. Tokenization addresses security vulnerabilities after a transaction has been

authorized."31 As First Data explains:

          In the process of tokenization, once the transaction is authorized the payment data
          is sent to a centralized and highly secure server where it is stored. At the same
          time, a random unique number is generated and returned to the merchant's
          systems for use in place of the cardholder data. The token number-which cannot
          be monetized by anyone but the merchant that owns the token-can be used in
          subsequent post-authorization business processes . . . . If token numbers are
          breached, they are meaningless to data thieves because they are simply random
          numbers. Id.

          72.    The National Restaurant Association has published certain information or best

practices to protect restaurant networks from hacking. Specifically, the National Restaurant

Association identified certain items within a restaurant's network that it should protect including


30See First Data Market Insight, Avoiding a Data Breach: An Introduction to Encryption and
Tokenization, https://www.firstdata.com/en_ie/insights/6203-Data-Breach-Market- Insight.html;
see also Point of Sale Security: Retail Data Breaches At a Glance, DATACAP SYSTEMS, INC.
(May 12, 2016), https://www.datacapsystems.com/blog/point-of-sale-security- retail-data-
breaches-at-a-glance#.

31   First Data Market Insight, supra.



                                                  23
         Case
          Case4:18-cv-00770-BSM
               MDL No. 2807 Document
                                Document
                                     47-31 Filed
                                            Filed02/19/19
                                                  10/16/18 Page
                                                            Page26
                                                                 24ofof59
                                                                        57



that restaurants: "[e]nsure all credit card data is encrypted. If you have older POS equipment that

sends raw credit card data to a back-office server, it may be time to upgrade. Modem, secure

POS systems encrypt credit card data as soon as a card is swiped, and they immediately send that

data to the payment processor without temporarily storing data. Double-check your POS system

to make sure it complies with PCI standards."32

        73.      Had Sonic employed certain best practices regarding encryption and tokenization

of Payment Card Data at the POS terminal, it could have prevented the theft of Payment Card

Data.

              4. Sonic Failed to Install Software to Adequately Track and Monitor Its
                 Network

        74.      Sonic failed to adequately track access to its network and to monitor the network

for unusual activity, particularly with respect to its POS terminals, which would have allowed

Sonic to detect and potentially prevent hackers from stealing Payment Card Data. One software

vendor, Symantec, provides the following explanation regarding its endpoint protection software:

"Symantec's network threat protection technology analyzes incoming data and blocks threats

while they travel through the network before hitting endpoints. Rules-based firewall and browser

protection are also included to protect against web-based attacks."33

        75.      Specifically, had Sonic implemented proper endpoint detection and prevention

systems, it would have been able to identify suspicious activity occurring within its network.

32 6 measures to protect your network.from hackers, NAT'L REST. ASSOC.,
http://www.restaurant.org/Manage-M y-Restaurant/Operations/Regulatory-back-office/4-
measures-to-protect-your-network-from-hackers (last visited October 27, 2017).

33 Data Sheet, Symantec Corporation, Symantec™ Endpoint Protection 12.1.6 (2015),
https://www.symantec.com/content/dam/symantec/docs/data-sheets/endpoint-protection-en.pdf
(last visited October 27, 2017).


                                                24
           Case
            Case4:18-cv-00770-BSM
                 MDL No. 2807 Document
                                  Document
                                       47-31 Filed
                                              Filed02/19/19
                                                    10/16/18 Page
                                                              Page27
                                                                   25ofof59
                                                                          57



Additionally, proper endpoint detection would have triggered warnings and alerted Sonic to the

transmission of Payment Card Data within its systems and should have alerted Sonic to large

volumes of data being removed, or exfiltrated, from its network.

          76.    Of course, warnings and alerts are only valuable to the extent the IT department

reviews the logs of those warnings and alerts.

          D. In Breaching Its Duty to Not Create Risk of Harm to Others, Sonic Chose Not to
             Follow Industry Standards of Care

          77.    Sonic's adherence to reasonable industry standards of care would have either

prevented or timely detected this Data Breach. In addition to the best practices discussed above,

the payment card industry and federal agencies have issued recommended standards of care

regarding adequate data security measures.

          78.    Given the extensive network of financial institutions involved in payment card

transactions and the sheer volume of daily transactions using credit and debit cards, it is

unsurprising that financial institutions and credit card processing companies have issued rules

and standards governing the basic measures that merchants must take to ensure consumers'

valuable data is protected.

          79.    The Payment Card Industry Security Standards Council promulgates minimum

standards, which apply to all organizations that store, process, or transmit payment card data.

These standards are known as the Payment Card Data Security Standard ("PCI DSS"). PCI DSS

is the industry standard governing the security of payment card data, although it sets the

minimum level of what must be done, not the maximum. 34


34   https ://www.pcisecuritystandards.org/.



                                                 25
            Case
             Case4:18-cv-00770-BSM
                  MDL No. 2807 Document
                                   Document
                                        47-31 Filed
                                               Filed02/19/19
                                                     10/16/18 Page
                                                               Page28
                                                                    26ofof59
                                                                           57



          80.      PCI DSS 3.1, the version of the standards in effect at the time of the data breach,

imposed the following twelve "high-level" mandates:

                                PCI Data Security Standard - High Level Overview
                                      1. Install and mailtain a firewall configuration to protect cardholder data
      Bulld and Maintain a Secure
      Network and Systems             2. Do not use vendor-supplied defaults for system passwords and other
                                         security parameters

      Protect Cardholder Data
                                      3. Protect stored cardholder data
                                      4. Encrypt transmission of cardholder data aaoss open, public networks

      Maintain a VulnerabHlty         5.   Protect au systemS against malware and regularty update anti-virus
                                           software or programs
      Management Program
                                      6. Develop and mailtain secure systems and applications
                                      7.   Restrict access to cardholder data by business need to know
      Implement Strong Access
      Control Measures
                                      8.   Identify and authenticate access to system components
                                      9.   Restrict physical access to cardholder data
      Regularly Monitor and Test     10.   Track and monitor an access to network resources and cardholder data
      Networks                       11.   Regularly test security systems and processes
     Maintain an Information
                                     12. Maintain a policy that addresses information security for all personnel
     Security Polley


 PCI DSS 3.1, furthermore, set forth detailed and comprehensive requirements that had to be

 followed to meet each of the twelve mandates. 35

          81.      Among other things, PCI DSS required Sonic to properly secure payment card

data; not store cardholder data beyond the time necessary to authorize a transaction; maintain up-

to-date antivirus software and a proper firewall; restrict access to payment card data to those with

a need to know; establish a process to identify and timely fix security vulnerabilities; assign

unique identification numbers to each individual with access to its systems; and encrypt payment

card data at the POS.

          82.      Furthermore, PCI DSS 3.2 sets forth detailed and comprehensive requirements

that must be followed to meet each of the 12 mandates.

35   https://www.pcisecuritystandards.org/documents/PCIDSS ORGv3 l.pdf.



                                                          26
           Case
            Case4:18-cv-00770-BSM
                 MDL No. 2807 Document
                                  Document
                                       47-31 Filed
                                              Filed02/19/19
                                                    10/16/18 Page
                                                              Page29
                                                                   27ofof59
                                                                          57



         83.    Defendant was at all times fully aware of its data protection obligations for Sonic

stores in light of its participation in the payment card processing networks and its daily collection

and transmission of tens of thousands of sets of Payment Card Data.

         84.    Similarly, U.S. CERT, part of the Department of Homeland Security, issued Alert

TA14-002A on January 2, 2014, titled "Malware Targeting Point of Sale Systems." 36 The

document discusses hardware and software attacks against POS systems and includes specific

best practices recommended to protect POS systems. Id. See also John H. Sawyer, Tech Insight

Defending        Point-Of-Sale      Systems,      InformationWeek         (Jan.      24,      2014),

https://www.darkreading.com/attacks-breaches/tech-insight-defending-point-of-sale-systems/d/d-

id/1141214.

         85.    The Cybersecurity Framework developed by NIST, the federal agency that works

with industry to develop and apply technology, measurements, and standards, also provides

businesses with guidance on best practices. The Cybersecurity Framework cites numerous

industry standards available to guide businesses in adopting best practices, including the

Information Systems Audit and Control Association's ("ISACA") Control Objectives for

Information and Related Technology ("COBIT"), the Council on CyberSecurity's Top 20

Critical Security Controls, the International Society of Automation's Standards (such as

ANSI/ISA-62443-2-1 (99.02.01)-2009 and ANSI/ISA-62443-3-3 (99.03.03)-2013), and the

International Organization for Standardization's ISO/IEC 27001 :2013. 37


36   U.S. CERT, Alert (TA14-002A), supra n.21.

37Framework for Improving Critical Infrastructure Cybersecurity, Version 1.0, National Institute
of Standards and Technology, February 12, 2014, https://www.nist.gov/cyberframework.



                                                 27
        Case
         Case4:18-cv-00770-BSM
              MDL No. 2807 Document
                               Document
                                    47-31 Filed
                                           Filed02/19/19
                                                 10/16/18 Page
                                                           Page30
                                                                28ofof59
                                                                       57



       86.     According to the /SACA Journal, the Enterprise Strategy Group found that 72

percent of North American organizations with 1,000 or more employees have implemented one

or more formal IT best-practice control and process models and standards such as COBIT and

ISO/IEC 27001 and 27002. 38

       87.     COBIT 5 provides management practices and monitoring processes to adequately

protect organizations from internal and external data threats. Id. Specifically, COBIT 5

Management Practices recommend that organizations implement the following:

       88.     The ISO and the International Electrotechnical Commission ("IEC") have

likewise developed standards and models for establishing, implementing, operating, monitoring,

reviewing,   maintaining    and
                                  .      .
                                  1mprovmg     information    security   management      systems.

ISO/IEC27001 sets forth a check list and control objectives for information security policies for

organizations to protect their information systems and networks. 39      Specifically, the control

objectives include:

       A.5.1 Information Security Policy: Objective: to provide management direction and
       support for information security in accordance with business requirements and relevant
       laws and regulations.

       A.6.1.1 Management Commitment to Information Security: Control - Management
       shall actively support security within the organization through clear direction,
       demonstrated commitment, explicit assignment, and acknowledgment of information
       security responsibilities.


38 Mathew Nicho, Ph.D., CEH, SAP-SA, RWSP, and Hussein Fakhry, Ph.D., Using COBIT 5 for
Data Breach Prevention, ISACA Journal (2013),
https://www.isaca.org/Journal/archives/2013/Volume-5/Pages/Using-COBIT-5-for-Data-Breach-
Prevention.aspx#2 (last accessed October 29, 2017).

39 ISO/IEC 27001 (2005), available at
http://bcc.portal.gov.bd/sites/default/files/files/bcc.portal.gov.bd/page/adeaf3e5_cc55_4222_876
7_f26bcaec3f70/ISO_IEC_27001.pdf.


                                               28
         Case
          Case4:18-cv-00770-BSM
               MDL No. 2807 Document
                                Document
                                     47-31 Filed
                                            Filed02/19/19
                                                  10/16/18 Page
                                                            Page31
                                                                 29ofof59
                                                                        57



        A.10.3 System planning and acceptance: Objective: To minimize the risk of systems
        failures. A.10.3.2 System acceptance: Control - Acceptance criteria for new information
        systems, upgrades, and new versions shall be established and suitable tests of the
        system(s) carried out during development and prior to acceptance.

        A.10.4 Protection against malicious and mobile code: Objective: To protect the
        integrity of software and information. A.10.4.1 Controls against malicious code:
        Control - Detection, prevention, and recovery controls to protect against malicious code
        and appropriate user awareness procedures shall be implemented.

        A.10.6 Network security management: Objective: To ensure the protection of
        information in networks and the protection of the supporting infrastructure. A.10.6.1
        Network controls: Control - Networks shall be adequately managed and controlled, in
        order to be protected from threats, and to maintain security for the systems and
        applications using the network, including information in transit.

       A.10.10 Monitoring: Objective: To detect unauthorized information processing
       activities. A.10.10.1 Audit logging: Control - Audit logs recording user activities,
       exceptions, and information security events shall be produced and kept for an agreed
       period to assist in future investigations and access control monitoring.

       A.11.4 Network access control: Objective: To prevent unauthorized access to networked
       services. A.11.4.1 Policy on use of network services: Control - Users shall only be
       provided with access to the services that they have been specifically authorized to use.

        A.11.4.7 Network routing control: Control - Routing controls shall be implemented for
        networks to ensure that computer connections and information flows do not breach the
        access control policy of the business applications.

        A.12.4 Security of system files: Objective: To ensure the security of system files.

        A.12.4.1 Control of operational software: Control - There shall be procedures in place
        to control the installation of software on operational systems.

        A.13.1 Reporting information security events and weaknesses: Objective: To ensure
        information security events and weaknesses associated with information systems are
        communicated in a manner allowing timely corrective action to be taken. A.13.1.1
        Reporting information security events: Control - Information security events shall be
        reported through appropriate management channels as quickly as possible.

Id. at 13-26.

        89.     Similarly, 1SO/IEC    27002    provides    additional,   specific   best      practice




                                                29
           Case
            Case4:18-cv-00770-BSM
                 MDL No. 2807 Document
                                  Document
                                       47-31 Filed
                                              Filed02/19/19
                                                    10/16/18 Page
                                                              Page32
                                                                   30ofof59
                                                                          57



recommendations on information security management systems. 40 ISO 27002 states that in order

to properly protect against malicious and mobile code and to protect the integrity of software and

the organization's information, the following guidance should be observed:

          Implementation guidance: Protection against malicious code should be based on
          malicious code detection and repair software, security awareness, and appropriate
          system access and change management controls.

Id.

          90.      Visa also frequently provides merchants with best practices tips. For example, in

May 2009, Visa issued an updated Data Security Alert instructing merchants to secure their POS

environments by, among other things, implementing egress and ingress filtering, network

segmentation, firewalls, file integrity monitoring, updated antivirus software programs, and

protocols for routine monitoring of computer systems. 41

          91.      Because Sonic stores accepted payment cards containing sensitive financial and

personal information, Defendant knew that financial institutions, such as Plaintiff and the Class,

were entitled to, and did, rely on Defendant to keep that sensitive information secure from

would-be data thieves in accordance with at least the PCI DSS requirements. Sonic did not even

meet this minimum standard of care, much less even attempt to comply with other well-known

industry best practices.

          E. Federal and State Statutes Create a Statutory Duty to Not Engage in Unfair
             Practices

                1. The FTC Act and Similar State Statutes


40ISO/IEC 27002 (2005), available at http://www.slinfo.una.ac.cr/documentos/
EIF402/ISO27001.pdf (last accessed October 29, 2017).

41   Data Security Alert - Targeted Hospitality Sector Vulnerabilities, supra n.17.



                                                  30
             Case
              Case4:18-cv-00770-BSM
                   MDL No. 2807 Document
                                    Document
                                         47-31 Filed
                                                Filed02/19/19
                                                      10/16/18 Page
                                                                Page33
                                                                     31ofof59
                                                                            57



            92.   According to the Federal Trade Commission ("FTC"), the failure to employ

reasonable and appropriate measures to protect against unauthorized access to confidential

consumer data, such as Payment Card Data, constitutes an unfair act or practice prohibited by

Section 5 of the Federal Trade Commission Act of 1914 ("FTC Act"), 15 U.S.C. § 45. 42

            93.   In 2007, the FTC published guidelines that establish reasonable data security

practices for businesses. The guidelines note that businesses should a) protect the personal

customer information that they keep; b) properly dispose of personal information that is no

longer needed; c) encrypt information stored on computer networks; d) understand their

networks' vulnerabilities; and e) implement policies for installing vendor-approved patches to

correct security problems. The guidelines also recommend that businesses a) consider using an

intrusion detection system to expose a breach as soon as it occurs; b) monitor all incoming traffic

for activity indicating someone may be trying to hack the system; c) watch for large amounts of

data being transmitted from the system; and d) have a response plan ready in the event of a

breach. 43

            94.   The FTC also has published a document, entitled "Protecting Personal

Information: A Guide for Business," which highlights the importance of having a data security

plan, regularly assessing risks to computer systems, and implementing safeguards to control such

risks. 44


42   Section 5 of 15 USC § 45 - https://www.law.cornell.edu/uscode/text/15/45

43   http://www.faegrebd.com/ftc-releases-data-security-guide-for-businesses

44Federal Trade Commission, Protecting Personal Information: A Guide for Business(Nov.
2011 ), www.stopfraudcolorado.gov/sites/default/files/bus69-protecting-personal- information-
guide-business 0.pdf.


                                                31
         Case
          Case4:18-cv-00770-BSM
               MDL No. 2807 Document
                                Document
                                     47-31 Filed
                                            Filed02/19/19
                                                  10/16/18 Page
                                                            Page34
                                                                 32ofof59
                                                                        57



       95.      Another article "FTC Facts for Business" published by the FTC highlights the

importance of having a data security plan, regularly assessing risks to computer systems, and

implementing safeguards to control such risks. 45

       96.      The FTC also has issued numerous orders against businesses that failed to employ

reasonable measures to secure Payment Card Data. These orders provide further guidance to

businesses with regard to their data security obligations.

       97.      In the years leading up to the Sonic data breach and during the course of the

breach itself, Sonic failed to follow the guidelines recommended by the FTC. Furthermore, by

failing to have reasonable data security measures in place, Sonic engaged in an unfair act or

practice within the meaning of Section 5 of the FTC Act.

       98.      In addition, individual states have enacted statutes based upon the FTC Act that

also create a statutory duty to not engage in unfair business practices. Specifically, the California

Unfair Competition Law, Cal. Bus. & Prof. Code §§ 17200, et seq., Florida's Deceptive and

Unfair Trade Practices Act, Fla. Stat. §§ 501.201, et seq., Maine Unfair Trade Practices Act, 5

M.R.S.A §§ 205-A, et seq., Massachusetts Consumer Protection Act, Mass. Gen. Laws Ch. 93A,

et seq., New Hampshire Consumer Protection Act, N.H. Stat. §§ 358-A:1, et seq., and Vermont

Consumer Fraud Act, 9 V.S.A §§ 2451, et seq., prohibit unfair trade practices. Each statute is

interpreted consistently with Section 5 of the FTC Act, with consideration given to the

interpretation and construction given to Section 5 by the FTC and federal courts.

             2. State Statutes Provide Guidance Regarding the Standard of Care Required


45https ://www.ftc.gov/system/files/documents/plain-language/bus69-protecting-personal-
information-guide-business 0.pdf



                                                 32
         Case
          Case4:18-cv-00770-BSM
               MDL No. 2807 Document
                                Document
                                     47-31 Filed
                                            Filed02/19/19
                                                  10/16/18 Page
                                                            Page35
                                                                 33ofof59
                                                                        57



               to Protect Data

       99.     Several state laws also provide guidance regarding the standard of care required to

protect personal and financial information contained in the Payment Card Data that is acquired

by and entrusted to businesses like Sonic. See Ark. Code § 4-110-104(b); Cal. Civ. Code §§

1798.81, 1798.81.5; Fla. Stat.§ 501.171(2); and Mass. Gen. Laws Ch. 93H § 2(a). These statutes

require businesses, like Sonic, to implement and maintain reasonable security procedures and

practices to protect the personal and financial information, which is contained in Payment Card

Data, to prevent unauthorized access, destruction, use, modification, or disclosure of the

information.

       100.    The FTC Act and its state law counterparts at a minimum provide a reasonable

standard of care, if not a statutory duty, with which Sonic did not even attempt to comply.

       F. The Property Damage and Financial Losses that Financial Institutions Have
          Suffered, and Will Continue to Suffer, Were Foreseeable

       101.    Processing a payment card transaction involves four major steps:

       Authorization - when a customer presents a card to make a purchase, Sonic requests
       authorization of the transaction from the card's issuer using the Payment Card Data from
       the card presented;

       Clearance - if the issuer authorizes the transaction, Sonic completes the sale to the
       customer and forwards a purchase receipt to the acquiring bank with which it has
       contracted;

       Settlement - the acquiring bank pays Sonic for the purchase and forwards the receipt to
       the issuer, which then reimburses the acquiring bank; and

       Post-Settlement - the issuer posts the charge to the customer's credit or debit account.

       102.    Payment Card Data is central to the payment card transaction process. For

financial institutions, like Plaintiff, Payment Card Data is an asset that has significant value.




                                                33
         Case
          Case4:18-cv-00770-BSM
               MDL No. 2807 Document
                                Document
                                     47-31 Filed
                                            Filed02/19/19
                                                  10/16/18 Page
                                                            Page36
                                                                 34ofof59
                                                                        57



Payment Card Data is owned by the financial institution, not the cardholder; the cardholder is

merely an authorized user. Payment Card Data is kept by financial institutions in the form of

computer data, 46 stored as records in a secured database on a financial institution's computer

system. 47 In addition, the Payment Card Data is encoded on the magnetic stripe of the payment

card. Payment Card Data is a financial institution's means of authenticating the cardholder and

authorizing a payment card transaction.

       103.    To authorize a transaction, the issuing financial institution receives, from the

merchant, the Payment Card Data that is encoded on the payment card being used by the

consumer. The issuing financial institution's computer uses the Payment Card Data, received

from the merchant, to locate the computer data on the financial institution's computer for the

payment card's specific record. The financial institution then uses the payment card's specific

record stored on its computer to authorize the transaction. The transaction authorization process

relies on the Payment Card Data being known only to the parties to the payment card transaction.

       104.    When Payment Card Data (that is stored on financial institutions' computer

systems and used to securely authorize financial transactions) is compromised, the computer



46Computer data is "any representation of knowledge, facts, concepts, instruction, or other
information computed, classified, processed, transmitted, received, retrieved, originated, stored,
manifested, measured, detected, recorded, reproduced, handled, or utilized by a computer,
computer network, computer program, or computer software, and may be in any medium[.]"
N.H. Rev. Stat.§ 638:16, V.

47 "Each row of a database comprises a single record made up of multiple distinct pieces of
information, and each column of the database table represents an attribute of that record." A
SANS Inst. Whitepaper-November 2007, REGULATIONS AND STANDARDS: WHERE
ENCRYPTION APPLIES. For example, a record of protected stored Payment Card Data for the
financial institutions will include, but not be limited to the following sensitive information: the
cardholder name, address, primary account numbers, and associated financial information such
as expiration date, daily limits, and service codes.


                                                34
          Case
           Case4:18-cv-00770-BSM
                MDL No. 2807 Document
                                 Document
                                      47-31 Filed
                                             Filed02/19/19
                                                   10/16/18 Page
                                                             Page37
                                                                  35ofof59
                                                                         57



database record that contains the compromised Payment Card Data is no longer usable to

securely authorize transactions. Due to the disclosure of the Payment Card Data to third parties,

the computer data for the specific payment card becomes susceptible to fraud, and therefore,

loses its integrity.

        105.     "Integrity" is a fundamental attribute of computer data. See, e.g., 44 U.S.C. §

3542(b)(l)(A) (defining integrity as an attribute of the federal government's information security

policy). "Integrity generally refers to maintaining computer data in a protected state, unaltered by

improper, unauthorized or subversive conduct or acts contrary to what the system owner or

privilege grantor intended. Integrity concerns computer data stored, processed, or in transit. In

the context of databases, integrity also regards metadata and the functions involved."48

        106.     When a data breach occurs, the computer database record that contains the

compromised Payment Card Data is damaged and no longer usable to authorize transactions. In

other words, the financial institution can no longer count on the person using the information to

be the cardholder and cannot rely on its computer data to securely authorize transactions. The

Payment Card Data therefore effectively is rendered commercially worthless.

        107.     Thus, when Payment Card Data has lost its integrity, the financial institution must

issue a replacement payment card with new Payment Card Data to prevent fraud. As a result, the

computer data (database record) that contains the compromised Payment Card Data must be

replaced with new computer data (database record) that matches the newly issued Payment Card

Data.



48Ioana & Lucian Vasiu, Break on Through: An Analysis of Computer Damage Cases, 14 U.
PITT. J. TECH. L. & POL'Y 158 (2014).



                                                 35
         Case
          Case4:18-cv-00770-BSM
               MDL No. 2807 Document
                                Document
                                     47-31 Filed
                                            Filed02/19/19
                                                  10/16/18 Page
                                                            Page38
                                                                 36ofof59
                                                                        57



       108.    These actions are not optional for the financial institutions. For example, the

Gramm-Leach-Bliley Act ("GLBA") mandates that financial institutions protect the security and

confidentiality of consumer nonpublic personal information at all times. See 15 U.S.C.A. §§

6801-6809.

       109.    Federal and state laws recognize that computer data, like Payment Card Data, 49 is

property50 that suffers "damage" when it has lost its integrity and been rendered unusable. See,



49 State laws recognize Payment Card Data as computer data. See, e.g., Ark. Code Ann. § 5-41-
102(7) (defining computerized "data" as "any representation of information, knowledge, a fact,
concept, or an instruction that is being prepared or has been prepared and is intended to be
processed or stored, is being processed or stored, or has been processed or stored in a computer,
computer network, or computer system"); Ark. Code Ann.§ 5-41-201(4) (defining "data" as "a
representation of any form of information, knowledge, a fact, concept, or an instruction that is
being prepared or has been formally prepared and is intended to be processed, is being
processed, or has been processed in a system or network"); N.H. Rev. Stat.§ 638:16, IV
(defining "computer data" as "any representation of knowledge, facts, concepts, instruction, or
other information computed, classified, processed, transmitted, received, retrieved, originated,
stored, manifested, measured, detected, recorded, reproduced, handled, or utilized by a computer,
computer network, computer program, or computer software, and may be in any medium,
including, but not limited to, computer print-outs, microfilm, microfiche, magnetic storage
media, optical storage media, punch paper tape, or punch cards, or it may be stored internally in
read-only memory or random access memory of a computer or any other peripheral device").

so State laws recognize that "property" includes computerized data. See, e.g., Ark. Code Ann.§
5-41-102(10) ('"Property' includes, but is not limited to, a financial instrument, data, computer
program, document associated with a computer or computer program, or a copy of a financial
instrument, data, computer program, or document associated with a computer or computer
program, whether tangible or intangible, including both human and computer readabledata, and
data while in transit"); Ark. Code Ann.§ 5-41-201(10) (defining "property" as "anything of
value and includes a financial instrument, information, electronically produced data, program,
and any other tangible or intangible item of value"); N.H. Rev. Stat.§ 638:16, XVI (defining
"property" to include "computer data ... regardless of whether [it is]: (1) Tangible or intangible;
(2) In a format readable by humans or by a computer; (3) In transit between computers or within
a computer network or between any devices which comprise a computer; or (4) Located on any
paper or in any device on which it is stored by a computer or by a human"); C.R.S.A. § 18-5.5-
101(8) ("'Property' includes, but is not limited to, financial instruments, information, including
electronically produced data, and computer software and programs in either machine or human
readable form, and any other tangible or intangible item of value").


                                                36
         Case
          Case4:18-cv-00770-BSM
               MDL No. 2807 Document
                                Document
                                     47-31 Filed
                                            Filed02/19/19
                                                  10/16/18 Page
                                                            Page39
                                                                 37ofof59
                                                                        57



e.g., 18 U.S.C. §§ 1030(e)(8), (11) (defining "damage" as "any impairment to the integrity or

availability of data, a program, a system, or information;" and, "loss" as "any reasonable cost to

any victim, including the cost of responding to an offense, conducting a damage assessment, and

restoring the data, program, system, or information to its condition prior to the offense, and any

revenue lost, cost incurred, or other consequential damages incurred because of interruption of

service"); C.R.S.A. § 18-5.5-101(6.3) ('"Damage' includes, but is not limited to, any impairment

to the integrity of availability of information, data, computer program, computer software, or

services on or via a computer, computer network, or computer system or part thereof."); see also

Ark. Code Ann. §§ 5-41-101 (recognizing that the opportunities for "the alteration or destruction

of computerized information or files, and the stealing of financial instruments, data, and other

assets are great" and that "[l]osses from [such incidents] are potentially astronomical"); Ark.

Code Ann. § 5-41-106 (providing a private right of action to recover for damage to computer

data); Ark. Code Ann. § 5-41-202 (recognizing acts that harm computer data as unlawful); N.H.

Rev. Stat.§ 638:17, IV(b) (recognizing damage to computer data as a crime).

       110.    In short, Payment Card Data kept as computer data is Plaintiffs and the Class's

means of authenticating the cardholder and authorizing a transaction. When the Payment Card

Data reflected in the computer data was compromised in the Data Breach, the computer data was

damaged because it lost its integrity and Plaintiff and the Class no longer could rely on it to

authorize transactions. In other words, Plaintiff and the Class no longer can count on the person

using the information to be the cardholder and cannot rely on its computer data to securely

authorize transactions. Therefore, Sonic, by implementing inadequate data security measures,

caused Plaintiff and the Class to suffer property damage.




                                               37
          Case
           Case4:18-cv-00770-BSM
                MDL No. 2807 Document
                                 Document
                                      47-31 Filed
                                             Filed02/19/19
                                                   10/16/18 Page
                                                             Page40
                                                                  38ofof59
                                                                         57



         111.   The property damage suffered by Plaintiff and the Class was foreseeable to

Defendant. Defendant knew that implementing data security measures that were inadequate to

protect Payment Card Data would cause harm to the card-issuing institutions, such as Plaintiff

and the Class, because the issuers are financially responsible for fraudulent card activity, see 12

C.F.R. § 1005.6, 12 C.F.R. § 1026.12, and must incur significant costs to prevent additional

fraud.

         112.   As the direct and proximate result of Sonic's conduct, Plaintiff has suffered and

will continue to suffer irreparable injury and significant property damage and financial losses.

Specifically, Plaintiff and other financial institutions have been forced to: (a) replace the

computer data rendered useless by the Data Breach; (b) cancel or reissue any credit and debit

cards affected by the Data Breach; (c) close any deposit, transaction, checking, or other accounts

affected by the Data Breach, including, but not limited to, stopping payments or blocking

transactions with respect to the accounts; (d) refund any cardholder for any unauthorized

transaction relating to the Data Breach; (e) respond to a higher volume of cardholder complaints,

confusion, and concern; and (f) increase fraud monitoring efforts. These costs and expenses will

continue to accrue as additional fraud alerts and fraudulent charges are discovered and occur.

         113.   Moreover, Plaintiffs and the Class's business is reliant on their reputation and

customer relationships and their ability to maintain and grow their customer base in a

competitive market. By engaging and continuing to engage in the conduct and activities

described herein, Sonic inevitably will be subject to a data breach again.

         G. Payment Card Data is Protectable Trade Secret Information that Sonic Has
            Misappropriated




                                                38
           Case
            Case4:18-cv-00770-BSM
                 MDL No. 2807 Document
                                  Document
                                       47-31 Filed
                                              Filed02/19/19
                                                    10/16/18 Page
                                                              Page41
                                                                   39ofof59
                                                                          57



          114.   Payment Card Data is protectable trade secret information under the DTSA, 18

U.S.C. §§ 1831, et seq. The definition of "trade secrets" under§ 1839(3) of the DTSA, is broad

and generally covers "all forms and types of' protected information, regardless of how it is

stored.

          115.   Financial institutions, like Plaintiff and the Class, devote substantial effort,

resources, time and investment to develop, create, use and protect the confidence of Payment

Card Data. The protected Payment Card Data resides on the financial institutions' secure servers,

with limited access and significant security protections.

          116.   Financial institutions, including Plaintiff, take reasonable steps to protect the

secrecy of Payment Card Data as part of their ongoing standard operating procedures to maintain

the confidential nature of this information.

          117.   Financial institutions operate their business in interstate and foreign commerce, in

that their payment card processing activities constitute the use of Payment Card Data in interstate

and foreign commerce.

          118.   As statutorily required, 51 financial institutions have numerous safeguards in place

to maintain the confidentiality of Payment Card Data and to protect against its unlawful use or

disclosure throughout the payment card process. There also are significant limits on a financial

institution's disclosure of Payment Card Data to third parties. For example, a financial institution

must not disclose an account number or similar form of access number or access code for a

payment card, to any nonaffiliated third party (other than a consumer reporting agency) for use in

51See, e.g., Fair Credit Reporting Act ("FCRA"), 15 U.S.C.A. §§ 1681, et seq.; Truth in Lending
Act ("TILA"), 15 U.S.C.A. §§ 1601, et seq. and its implementing Regulation Z (12 C.F.R. Part
226); Equal Credit Opportunity Act, 15 U.S.C.A. §§ 1691, et seq. and its implementing
Regulation B (12 C.F.R. Part 202); and GLBA, 15 U.S.C.A. §§ 6801, et seq.


                                                  39
          Case
           Case4:18-cv-00770-BSM
                MDL No. 2807 Document
                                 Document
                                      47-31 Filed
                                             Filed02/19/19
                                                   10/16/18 Page
                                                             Page42
                                                                  40ofof59
                                                                         57



telemarketing, direct mail marketing, or other marketing through electronic mail to the

consumer. See 15 U.S.C.A. §§ 6801-6809.

        119.    As part of the measures to protect confidentiality and prevent unauthorized

disclosure, payment cards are issued to consumers in an "inactive" status and must be

"activated" by the financial institutions' customer prior to use. The payment card can only be

activated in the manner the financial institutions specify. Payment card activation steps include

confirmation of consumer identity and verification of the payment card via telephone call or

online. The activation requirement is a security measure financial institutions use to ensure that

the rightful customer actually received the card. The activation measures also serve to protect the

secrecy of Payment Card Data and to ensure the confidential information contained on the

payment card does not end up disclosed to an unintended third party. Only after a payment card

is activated, can the consumer use it to make purchases.

        120.    In addition, the consumer must take steps to maintain the secrecy of the financial

institutions' Payment Card Data. The FTC recommends that consumers keep payment cards in a

safe place and use care in disclosure of the Payment Card Data. 52 Moreover, the consumers must

notify the financial institution if the card is lost or stolen. Id.

        121.    Regarding usage of a payment card, Payment Card Data from the card is obtained

from the magnetic stripe and verified at the time of purchase. It is absolutely critical that the

Payment Card Data stays only between the parties to the transaction (the consumer and its

issuing bank and the merchant and its acquiring bank). The importance of allowing access only

to those parties necessary is evidenced by a myriad of security rules and regulations, such as PCI

52 How to Protect Your Cards and Account Information: For Credit and ATM or Debit Cards,
https://www.consumer.fie.gov/articles/0213-lost-or-stolen-credit-atm-and-de bit-ca rd s.


                                                    40
         Case
          Case4:18-cv-00770-BSM
               MDL No. 2807 Document
                                Document
                                     47-31 Filed
                                            Filed02/19/19
                                                  10/16/18 Page
                                                            Page43
                                                                 41ofof59
                                                                        57



DSS, discussed above, and the Fair and Accurate Credit Transactions Act ("F ACTA"), which

prohibits a merchant from printing more than the last five digits of the payment card number or

the expiration date on a receipt.

        122.   Financial institutions derive independent economic value from Payment Card

Data not being generally known or readily ascertainable through proper means. Indeed, once

Payment Card Data becomes known to unauthorized third parties, it is rendered useless for its

intended purpose and must be replaced by the financial institutions.

        123.   As outlined above, Sonic's business operations and payment systems are

governed by PCI DSS, which gives rise to a duty to protect and maintain the secrecy of

Plaintiffs and the Class's Payment Card Data. Sonic knew that Payment Card Data was highly

sensitive, protected information and still failed to reasonably maintain the requisite secrecy of

Plaintiffs and the Class's Payment Card Data.

        124.   Sonic misappropriated Plaintiffs and the Class's Payment Card Data by its

unauthorized disclosure. Under the DTSA, the term "misappropriation" is defined broadly and

includes improper use or disclosure. Sonic misappropriated financial institutions' confidential,

proprietary, and trade secret information through its disclosure of Payment Card Data, as

described herein, without the express or implied consent of Plaintiff and the Class, where Sonic

at the time of disclosure knew or had reason to know that it had acquired Payment Card Data

under circumstances giving rise to a duty to maintain the secrecy of the Payment Card Data. See

18 U.S.C. § 1839(5)(B)(ii)(II).

                              V.    CLASS ACTION ALLEGATIONS

       125.    Plaintiff brings Counts One-Three and Five below individually and on behalf of




                                                41
         Case
          Case4:18-cv-00770-BSM
               MDL No. 2807 Document
                                Document
                                     47-31 Filed
                                            Filed02/19/19
                                                  10/16/18 Page
                                                            Page44
                                                                 42ofof59
                                                                        57



all other financial institutions similarly situated pursuant to Fed. R. Civ. P. 23. The proposed

Class is defined as:

       All Financial Institutions - including, but not limited to, banks and credit unions
       - in the United States (including its Territories and the District of Columbia) that
       issue payment cards, including credit and debit cards, or perform, facilitate, or
       support card-issuing services, whose customers made purchases from Sonic stores
       from January 1, 2017 through December 31, 2017 to the present (the "Class").

        126.   Plaintiff also brings Count Four below individually and on behalf of those defined

below within the identified state pursuant to Fed. R. Civ. P. 23. The proposed statewide Class is

defined as:

       All Financial Institutions - including, but not limited to, banks and credit unions
       - that either: (a) are located in Arkansas that issue payment cards, including credit
       and debit cards, or perform, facilitate, or support card-issuing services, whose
       customers made purchases from Sonic stores from January 1, 2017 through
       December 31, 2017 to the present (the "Class"), or (b) have customers located in
       Arkansas that were issued payment cards used at Sonic stores from January 1,
       2017 through December 31, 2017 to the present (the "Arkansas Class").

        127.   Excluded from each Class are Defendant and its subsidiaries, franchises, and

affiliates; all employees of Defendant; all persons who make a timely election to be excluded

from the Class and/or the Arkansas Class; government entities; and the judge to whom this case

is assigned, including his/her immediate family and court staff.

       128.    Numerosity: All requirements of Fed. R. Civ. P. 23(a)(l) are satisfied. The

members of the Class are so numerous and geographically dispersed that individualjoinder of all

Class members is impracticable. While Plaintiff is informed and believes that there are

thousands of members of the Class, the precise number of Class members is unknown to

Plaintiff. Class members may be identified through objective means. Class members may be

notified of the pendency of this action by recognized, Court-approved notice dissemination




                                                42
           Case
            Case4:18-cv-00770-BSM
                 MDL No. 2807 Document
                                  Document
                                       47-31 Filed
                                              Filed02/19/19
                                                    10/16/18 Page
                                                              Page45
                                                                   43ofof59
                                                                          57



methods, which may include U.S. mail, electronic mail, internet postings, and/or published

notice.

          129.   Commonality and Predominance: All requirements of Fed. R. Civ. P. 23(a)(2)

and 23(b)(3)'s predominance requirement are satisfied. This action involves common questions

of law and fact, which predominate over any questions affecting individual Class members,

including, without limitation:

                 a. whether Sonic engaged in the misconduct alleged;

                 b. whether Sonic implemented data security measures that were inadequate to

                      detect and potentially prevent the Data Breach and protect Payment Card

                      Data;

                 c. whether Sonic owed a duty to Plaintiff and the Class members and whether

                      Sonic violated that duty;

                 d. whether Sonic engaged in unfair or unlawful acts and practices in violation of

                      consumer protection statutes;

                 e. whether Plaintiffs and the Class's Payment Card Data constitutes protectable

                      trade secrets that Sonic misappropriated;

                 f.   whether Plaintiff and Class members were injured and suffered damages or

                      other ascertainable loss as a result of Sonic's conduct; and

                 g. whether Plaintiff and the Class members are entitled to relief and the measure

                      of such relief.

          130.   Typicality: All requirements of Fed. R. Civ. P. 23(a)(3) are satisfied. Each

Plaintiff is a member of the Class, having issued payment cards that were compromised in the




                                                   43
         Case
          Case4:18-cv-00770-BSM
               MDL No. 2807 Document
                                Document
                                     47-31 Filed
                                            Filed02/19/19
                                                  10/16/18 Page
                                                            Page46
                                                                 44ofof59
                                                                        57



Sonic Data Breach. Plaintiffs claims are typical of the other Class members' claims because,

among other things, all Class members were comparably injured through Defendant's conduct

and Plaintiff and the Class are asserting claims based on the same legal theories.

        131.   Adequacy: All requirements offed. R. Civ. P. 23(a)(4) are satisfied. Plaintiff is

an adequate Class representative because it is a member of the Class and its interests do not

conflict with the interests of the other members of the Class that it seeks to represent. Plaintiff is

committed to pursuing this matter for the Class with the Class's collective best interests in mind.

Plaintiff has retained counsel competent and experienced in complex class action litigation of

this type, and Plaintiff intends to prosecute this action vigorously. Plaintiff and its counsel will

fairly and adequately protect the Class's interests.

        132.   Superiority: The superiority requirement offed. R. Civ. P. 23(b)(3) is satisfied.

A class action is superior to any other available means for the fair and efficient adjudication of

this controversy, and no unusual difficulties are likely to be encountered in the management of

this class action. The damages or other financial detriment suffered by Plaintiff and the other

Class members are relatively small compared to the burden and expense that would be required

to individually litigate their claims against Sonic, so it would be impracticable for members of

the Class to individually seek redress for Sonic's wrongful conduct. Even if Class members

could afford individual litigation, the court system could not. Individualized litigation creates a

potential for inconsistent or contradictory judgments, and increases the delay and expense to all

parties and the court system. By contrast, the class action device presents far fewer management

difficulties and provides the benefits of single adjudication, economies of scale, and

comprehensive supervision by a single court.




                                                 44
         Case
          Case4:18-cv-00770-BSM
               MDL No. 2807 Document
                                Document
                                     47-31 Filed
                                            Filed02/19/19
                                                  10/16/18 Page
                                                            Page47
                                                                 45ofof59
                                                                        57



        133.     Injunctive and Declaratory Relief: All requirements of Fed. R. Civ. P. 23(b)(2)

are satisfied.   Defendant, through its uniform conduct, acted or refused to act on grounds

generally applicable to the Class as a whole, making injunctive and declaratory relief appropriate

to the Class as a whole.

                                VI.     CAUSES OF ACTION

                                           COUNTI
                                           Negligence

        134.     Plaintiff incorporates by reference all preceding allegations as though fully set

forth herein.

        135.     Sonic owed-and continues to owe-a duty to Plaintiff and the Class to use and

exercise reasonable care in obtaining and processing Plaintiff and the Class's Payment Card

Data. This duty arises from the common law and statute and is independent of any duty Sonic

owed as a result of its contractual obligations.

        136.     Sonic has an independent common law duty of reasonable care to prevent the

foreseeable risk of harm to others, including Plaintiff and the Class. It was entirely foreseeable

to Sonic that injury would result from the use of inadequate and unreasonable data security

measures to protect Payment Card Data. It was also foreseeable that, if reasonable security

measures were not taken, hackers would steal Plaintiff and the Class's Payment Card Data;

thieves would use Payment Card Data to make large numbers of fraudulent transactions; and, as

a result, Plaintiff and the Class would be required to replace the computer data rendered useless

by the Data Breach, cancel and reissue the compromised payment cards, and reimburse their

customers for any unauthorized transactions relating to the Data Breach.

        137.     Plaintiff and the Class thus seek to recover for Sonic's breach of an independent



                                                   45
         Case
          Case4:18-cv-00770-BSM
               MDL No. 2807 Document
                                Document
                                     47-31 Filed
                                            Filed02/19/19
                                                  10/16/18 Page
                                                            Page48
                                                                 46ofof59
                                                                        57



duty to not create unreasonable risk with regard to Plaintiff and the Class's Payment Card Data.

Sonic had a duty to employ reasonable data security measures because inadequate measures

foreseeably create an unreasonable risk that Plaintiff and the Class's Payment Card Data would

be compromised, with substantial property damage and financial loss resulting. In failing to

maintain reasonable security measures, Sonic created the risk of the harm that occurred and

Plaintiff and the Class were the foreseeable victims of the harm.

        138.   Defendant knew or should have known of the risk that its POS system could be

infiltrated using methods similar or identical to those previously used against major retailers in

recent months and years.

        139.   Defendant knew or should have known that its implementation of inadequate and

unreasonable data security measures to protect its POS terminals against obvious risks would

result in harm to Plaintiff and the Class.

        140.   By accepting payment cards, Sonic also voluntarily assumed the duty to use

reasonable security measures. When a company, such as Sonic, through the ordinary course of its

business (and for its own economic benefit) receives, gathers, and/or stores Payment Card Data,

it has undertaken to render services necessary for the protection of that property, and therefore

has an affirmative duty to take reasonable efforts to provide security for that property.

        141.   A duty to use reasonable security measures also arose as a result of the special

relationship that existed between Sonic and Plaintiff and the Class.       The special relationship

arose because financial institutions entrusted Sonic with Payment Card Data from payment cards

they issued. Only Sonic was in a position to ensure that its systems were sufficient to protect

against the harm to financial institutions from a data breach.




                                                 46
         Case
          Case4:18-cv-00770-BSM
               MDL No. 2807 Document
                                Document
                                     47-31 Filed
                                            Filed02/19/19
                                                  10/16/18 Page
                                                            Page49
                                                                 47ofof59
                                                                        57



       142.      Sonic's duty to use reasonable data security measures also arose under Section 5

of the Federal Trade Commission Act ("FTC Act"), 15 U.S.C. § 45, which imposes a statutory

duty on merchants to not engage in unfair business practices, which the FTC repeatedly has

determined includes the duty to use reasonable data security measures. In addition, individual

states have enacted statutes based on the FTC Act, as alleged herein, that also create a statutory

duty to not engage in unfair business practices.

       143.      Sonic breached its common law and statutory duties, and thus was negligent, by

failing to use reasonable measures to protect its customers' personal and financial information

from the hackers who perpetrated the data breach. Upon information and belief, the specific

negligent acts and omissions committed by Sonic include, but are not limited to, some or all of

the following:

           a. failure to employ systems to protect against malware;

           b. failure to regularly update its antivirus software;

           c. failure to maintain an adequate firewall

           d. failure to track and monitor access to its network and cardholder data;

           e. failure to limit access to those with a valid purpose;

           f.    failure to encrypt PII at the point-of-sale;

           g. failure to transition to the use of adequate EMV technology;

           h. failure to conduct frequent audit log reviews and vulnerability scans and remedy

                 problems that were found;

           1.    failure to assign a unique ID to each individual with access to its systems;

           J.    failure to automate the assessment of technical controls and security




                                                   47
           Case
            Case4:18-cv-00770-BSM
                 MDL No. 2807 Document
                                  Document
                                       47-31 Filed
                                              Filed02/19/19
                                                    10/16/18 Page
                                                              Page50
                                                                   48ofof59
                                                                          57



                  configuration standards;

             k. failure to adequately staff and fund its data security operation;

             1.   failure   to   use due     care in hiring, promoting,      and supervising those

                  responsible for its data security operations;

             m. failure to recognize red flags signaling that Sonic's systems were inadequate

                  and that as a result the potential for a massive data breach was increasingly likely;

             n. failure to recognize that hackers were stealing Payment Card Data from its

                  network while the data breach was taking place;

             o. failure to contain the data breach or otherwise revoke hackers' access in a timely

                  manner.

          144.    As a direct and proximate result of Sonic's negligence, Plaintiff and the Class

have suffered and continue to suffer substantial property damage and financial losses as detailed

herein.

                                               COUNT II
                                             Negligence Per Se

          145.    Plaintiff incorporates by reference all preceding allegations as though fully set

forth herein.

          146.    Section 5 of the FTC Act prohibits "unfair ... practices in or affecting commerce"

including, as interpreted and enforced by the FTC, the unfair act or practice by businesses, such

as Sonic, of failing to use reasonable measures to protect Payment Card Data.                The FTC

publications and orders described above also form part of the basis of Sonic' s duty.

          147.    Sonic violated Section 5 of the FTC Act (and similar state statutes) by

implementing unreasonable data security measures that were inadequate to protect Payment Card



                                                    48
         Case
          Case4:18-cv-00770-BSM
               MDL No. 2807 Document
                                Document
                                     47-31 Filed
                                            Filed02/19/19
                                                  10/16/18 Page
                                                            Page51
                                                                 49ofof59
                                                                        57



Sonic's conduct was particularly unreasonable given the nature and amount of Payment Card

Data it obtained and stored and the foreseeable consequences of a data breach, including

specifically, the immense damages that would result to consumers and financial institutions.

        148.     Sonic's violation of Section 5 of the FTC Act (and similar state statutes)

constitutes negligence per se.

        149.     Plaintiff and members of the Class are within the class of persons that Section 5

of the FTC Act (and similar state statutes) was intended to protect, as they are engaged in trade

and commerce and bear primary responsibility for directly reimbursing consumers for fraud

losses and maintaining the confidentiality of Payment Card Data. Moreover, both Plaintiff and

many Class Members are credit unions, which are organized as cooperatives whose members are

consumers.

        150.     The harm that has occurred is the type of harm the FTC Act (and similar state

statutes) was intended to guard against. Indeed, the FTC has pursued over 50 enforcement

actions against businesses, which, as a result of their failure to employ reasonable data security

measures and avoid unfair and deceptive practices, caused the same harm suffered by Plaintiff

and the Class.

        151.     As a direct and proximate result of Sonic's negligence per se, Plaintiff and the

Class have suffered, and continue to suffer, substantial property damage and financial losses as

detailed herein.

                                          COUNTIII
                   Misappropriation of Trade Secrets (18 U.S.C. §§ 1831, et seq.)

        152.     Plaintiff incorporates by reference all preceding allegations as though fully set

forth herein.



                                                49
         Case
          Case4:18-cv-00770-BSM
               MDL No. 2807 Document
                                Document
                                     47-31 Filed
                                            Filed02/19/19
                                                  10/16/18 Page
                                                            Page52
                                                                 50ofof59
                                                                        57



        153.       Plaintiffs and the Class's customers utilize the financial institutions' payment

cards to engage in interstate and foreign commerce.

        154.       Plaintiff and the Class's Payment Card Data qualifies as "trade secrets" under the

DTSA, which covers "all forms and types of' protected information, regardless of how it is

stored. 18 U.S.C. § 1839(3).

        155.       Plaintiff and the Class obtain economic value from Payment Card Data not being

generally known or readily ascertainable through proper means.

        156.       Plaintiff and the Class have taken reasonable steps and precautions to safeguard

Payment Card Data and to limit and restrict others from knowing, readily ascertaining or using

Payment Card Data, as described herein.

        157.       Sonic knew it had a duty to maintain the secrecy of Plaintiff and the Class's trade-

secret-protected Payment Card Data due, in part, to PCI DSS Standards.

        158.       Sonic has misappropriated through unauthorized disclosure Plaintiff and the

Class's confidential, proprietary, and trade-secret-protected Payment Card Data.

        159.       As a result of Sonic' s improper misappropriation through unauthorized disclosure

of Plaintiff and the Class's trade secrets, it has violated the DTSA.

        160.       Plaintiff and the Class's business is reliant on their reputation and customer

relationships and their ability to maintain and grow their customer base in a competitive market.

As a direct and proximate result of Sonic's conduct, Plaintiff has suffered and, if Sonic is not

enjoined, will continue to suffer irreparable injury and significant damages in an amount to be

proven at trial.

        161.       By engaging and continuing to engage in the conduct and activities described




                                                    50
         Case
          Case4:18-cv-00770-BSM
               MDL No. 2807 Document
                                Document
                                     47-31 Filed
                                            Filed02/19/19
                                                  10/16/18 Page
                                                            Page53
                                                                 51ofof59
                                                                        57



herein, Sonic has disclosed and will inevitably disclose again protected Payment Card Data of

Plaintiff and the Class. If Sonic's conduct is not remedied and if Sonic is not enjoined, Sonic

will continue to misappropriate through unauthorized disclosure Plaintiff and the Class's

Payment Card Data to their detriment.

        162.    Sonic's actual and threatened misappropriation of Payment Card Data is causing

Plaintiff and the Class to suffer irreparable harm, including but not limited to loss of customers,

loss of reputation and customer goodwill, and loss of its investment in its trade secrets. This

harm cannot be adequately remedied at law and requires permanent injunctive relief.

        163.    Because Plaintiff and the Class's damages cannot be adequately compensated

through remedies at law alone, Plaintiff and the Class seek permanent injunctive relief to recover

and protect their Payment Card Data and other legitimate business interests. Plaintiff and the

Class will continue to suffer irreparable harm absent injunctive relief from this Court.

        164.    Sonic's actions in misappropriating Plaintiff and the Class's Payment Card Data

were willful, wanton and malicious, and were taken with reckless disregard for the rights of

Plaintiff and the Class.

        165.    Plaintiff and the Class are entitled to full compensatory, exemplary, and

consequential damages, as well as full attorneys' fees, costs and expenses.

                                           COUNTIV

                   Violation of the Arkansas Deceptive Trade Practices Act,
                              Ark. Code Ann. §§4-88-101, et seq.

                     (On Behalf of Plaintiff Alcoa and the Arkansas Class)

        166.    Plaintiff incorporates by reference all preceding allegations as though fully set

forth herein.



                                                51
         Case
          Case4:18-cv-00770-BSM
               MDL No. 2807 Document
                                Document
                                     47-31 Filed
                                            Filed02/19/19
                                                  10/16/18 Page
                                                            Page54
                                                                 52ofof59
                                                                        57



        167.   Plaintiff Alcoa brings this claim on behalf of itself and the Arkansas Class

pursuant to the Arkansas Deceptive Trade Practices Act ("ADTPA"), Ark. Code Ann. §§4-88-

101, et seq.

        168.   Plaintiff Alcoa and the Arkansas Class are "persons" within the meaning of the

ADTPA. Ark. Code Ann.§ 4-88-102(5).

        169.   Plaintiff has suffered an "actual financial loss" as it has lost "an ascertainable

amount of money" as a result of Sonic' s unconscionable acts and practices. Ark. Code Ann. § 4-

88-102(9).

        170.   The ADTPA prohibits unconscionable acts or practices in business, commerce, or

trade. Ark. Code Ann.§ 4-88-107(10).

        171.   Sonic engaged in unconscionable acts and practices in business, commerce, or

trade under AFTP A by unreasonably adopting and maintaining data security measures that were

inadequate to protect Payment Card Data and prevent the Data Breach. These unconscionable

practices occurred repeatedly in connection with Sonic's trade or business.

        172.   Sonic's affirmative acts in adopting and maintaining inadequate security measures

are unconscionable within the meaning of ADTP A because they constituted immoral, unethical,

oppressive, and unscrupulous activity, caused substantial injury to consumers and businesses,

and provided no benefit to consumers or competition.

        173.   Sonic's failure also was unconscionable within the meaning of ADTPA because

its conduct undermined Arkansas public policy that businesses protect personal and financial

information, as reflected in Ark. Code Ann. § 4-110-102.

        174.   Plaintiff Alcoa and the Arkansas Class reasonably expected Sonic to maintain




                                               52
         Case
          Case4:18-cv-00770-BSM
               MDL No. 2807 Document
                                Document
                                     47-31 Filed
                                            Filed02/19/19
                                                  10/16/18 Page
                                                            Page55
                                                                 53ofof59
                                                                        57



secure networks, adhere to industry standards, and otherwise use reasonable care to protect

Payment Card Data, which contains their cardholders' personal and financial information.

       175.    Sonic has engaged in unconscionable consumer-oriented acts or practices and has

injured Plaintiff Alcoa and the Arkansas Class by such acts and practices. While Sonic cuts

corners and minimized costs, its competitors spent the time and money necessary to ensure

private information was appropriately secured and safeguarded. Further, the injuries suffered by

Plaintiff Alcoa and the Arkansas Class are not outweighed by any countervailing benefits to

consumers or competition. And, because Sonic is solely responsible for securing its networks

and protecting Payment Card Data, there is no way Plaintiff Alcoa and the Arkansas Class could

have known about Sonic's inadequate data security practices or avoided the injuries they

sustained. There were reasonable available alternatives to further Sonic's legitimate business

interests, other than its conduct responsible for the Data Breach.

       176.    Plaintiff Alcoa and the Arkansas Class have members located in Arkansas who

used Plaintiffs and the Class's payment cards to purchase food for personal consumption from

Sonic and whose payment cards were impacted by the Data Breach. For these Arkansas-based

cardholders, Plaintiff Alcoa and the Arkansas Class reimbursed them for fraudulent transactions

and/or reissued payment cards impacted by the Data Breach. Through these acts, Plaintiff Alcoa

and the Arkansas Class suffered concrete and substantial injuries in Arkansas.

       177.    Sonic willfully engaged in the unconscionable acts and practices described above

and knew or should have known that those acts and practices were unfair in violation of the

ADTPA.

       178.    As a direct and proximate result of Sonic's unconscionable practices and violation




                                                53
         Case
          Case4:18-cv-00770-BSM
               MDL No. 2807 Document
                                Document
                                     47-31 Filed
                                            Filed02/19/19
                                                  10/16/18 Page
                                                            Page56
                                                                 54ofof59
                                                                        57



of ADTP A, Plaintiff Alcoa and the Arkansas Class have suffered and will continue to suffer

substantial injury and ascertainable loss and are entitled to equitable and such other relief as this

Court considers necessary and proper.

                                          COUNTY
                               Declaratory and Injunctive Relief

        179.    Plaintiff incorporates by reference all preceding allegations as though fully set

forth herein.

        180.    Under the Declaratory Judgment Act, 28 U.S.C. §§ 2201, et seq., this Court is

authorized to enter a judgment declaring the rights and legal relations of the parties and grant

further necessary relief. Furthermore, the Court has broad authority to restrain acts, such as here,

which are tortious and which violate the terms of the federal and state statutes described herein.

        181.    An actual controversy has arisen in the wake of Sonic's data breach regarding its

common law and other duties to reasonably safeguard Payment Card Data. Plaintiff alleges that

Sonic's data security measures were inadequate and remain inadequate. Sonic likely will deny

these allegations. Furthermore, Plaintiff and the Class continue to suffer injury as additional

fraudulent charges are being made on payment cards issued to Sonic' s customers.

        182.    Pursuant to its authority under the Declaratory Judgment Act, this Court should

enter a judgment declaring, among other things, the following:

                a. Sonic continues to owe a legal duty to secure Payment Card Data;

                b. Sonic continues to breach this legal duty by employing inadequate and

                   unreasonable measures to secure Payment Card Data; and

                c. Sonic's ongoing breaches of its legal duty continue to cause harm to Plaintiff

                   and the Class.



                                                 54
            Case
             Case4:18-cv-00770-BSM
                  MDL No. 2807 Document
                                   Document
                                        47-31 Filed
                                               Filed02/19/19
                                                     10/16/18 Page
                                                               Page57
                                                                    55ofof59
                                                                           57



       183.     The Court also should issue corresponding injunctive relief requiring Sonic to

employ adequate security protocols consistent with industry standards to protect Plaintiffs and

the Class's Payment Card Data. Specifically, this injunction should, among other things, direct

Sonic to:

                a. utilize industry standard encryption to encrypt the transmission of cardholder

                     data at the point-of-sale and at all other times;

                b. implement encryption keys in accordance with industry standards;

                c. implement adequate EMV technology;

                d. engage third party auditors, consistent with industry standards, to test its

                     systems for weakness and upgrade any such weakness found;

                e. audit, test, and train its data security personnel regarding any new or modified

                     procedures and how to respond to a data breach;

                f.   regularly test its systems for security vulnerabilities, consistent with

                     industry standards;

                g. comply with all PCI DSS standards pertaining to the security of its

                     customers' personal and confidential information;

                h. utilize up-to-date POS hardware and software; and

                1.   install all upgrades recommended by manufacturers of security software and

                     firewalls used by Sonic.

       184.     If an injunction is not issued, Plaintiff and the Class will suffer irreparable injury

and lack an adequate legal remedy in the vent of another data breach at Sonic. The risk of

another such breach is real, immediate, and substantial. If another breach at Sonic occurs,




                                                   55
         Case
          Case4:18-cv-00770-BSM
               MDL No. 2807 Document
                                Document
                                     47-31 Filed
                                            Filed02/19/19
                                                  10/16/18 Page
                                                            Page58
                                                                 56ofof59
                                                                        57



Plaintiff will not have an adequate remedy at law because many of the resulting injuries are not

readily quantified, and it will be forced to bring multiple lawsuits to rectify the same conduct.

Simply put, monetary damages, while warranted to compensate Plaintiff and the Class for out-of-

pocket damages that are legally quantifiable and provable, do not cover the full extent of injuries

suffered by Plaintiff and the Class, which include monetary damages that re not legally

quantifiable or provable, and reputational damage.

         185.     The hardship to Plaintiff and the Class, if an injunction is not issued, exceeds the

hardship to Sonic if an injunction is issued. Among other things, if another data breach occurs at

Sonic, Plaintiff and the Class Members will likely incur additional and significant damages. On

the other hand, the cost to Sonic of complying with an injunction, by employing reasonable data

security measures, is relatively minimal, and Sonic has a pre-existing legal obligation to employ

such measures.

         186.     Issuance of the requested injunction will not disserve the public interest. To the

contrary, such an injunction would benefit the public by preventing another data breach at Sonic,

thus eliminating the injuries that would result to Plaintiff and the Class whose Payment Card

Data would be compromised.

                                         PRAYER FOR RELIEF

         WHEREFORE, Plaintiff, individually and on behalf of the Class, respectfully requests

that the Court:

         A.       Certify the Class and appoint Plaintiff and Plaintiffs counsel to represent the

Class;

         B.       Enter a money judgment in favor of Plaintiff and members of the Class to




                                                   56
          Case
           Case4:18-cv-00770-BSM
                MDL No. 2807 Document
                                 Document
                                      47-31 Filed
                                             Filed02/19/19
                                                   10/16/18 Page
                                                             Page59
                                                                  57ofof59
                                                                         57



compensate them for the injuries suffered together with pre-judgment and post-judgment interest

and treble damages and penalties where appropriate;

         C.      Enter a declaratory judgment in favor of Plaintiff and the Class as described

above;

         D.      Grant Plaintiff the injunctive relief requested;

         E.      Award Plaintiff and the Class reasonable attorneys' fees and costs of suit; and

         F.      Award such other and further relief as this Court may deem just and proper.

                                   DEMAND FOR JURY TRIAL

         Plaintiff demands a trial by jury of any and all issues in this action so triable.



DATED: October 16, 2018                          Respectfully submitted,


                                                 ROBERTS LAW FIRM, P.A.

                                                  ~)~
                                                 Michael L. R~berts, AR Bar No. 90125
                                                 Karen S. Halbert, AR Bar No. 2001019
                                                 Stephanie Egner Smith, AR Bar No. 2004119
                                                 20 Rahling Circle
                                                 PO Box 241 790
                                                 Little Rock, AR 72223-1790
                                                 Telephone: 501-821-5575
                                                 Facsimile: 501-821-4474
                                                 mikeroberts@robertslawfirm.us
                                                 karenhalbert@robertslawfirm.us
                                                 stephaniesmith@robertslawfirm.us

                                                 Counsel for Plaintiff and the Proposed Class




                                                   57
